      Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 1 of 144




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF VERMONT


DAVID J. BLOCH,
                             Plaintiff,
                                          Civil Case No. 2:23-cv-00209-cr
v.


HEATHER BOUCHEY, et al.,
                           Defendants.



        EXPERT DECLARATION OF STEPHEN B. LEVINE, M.D.
         Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 2 of 144




                           TABLE OF CONTENTS
I.     CREDENTIALS ................................................................................................ 1

II.    SUMMARY ......................................................................................................... 4

III.   BACKGROUND ON THE FIELD................................................................... 7

       A.       The biological baseline of the binary sexes. ............................................ 7

       B.       Definition and diagnosis of gender dysphoria. ...................................... 11

       C.       Impact of gender dysphoria on minority and vulnerable groups. ........ 12

       D.       Three competing conceptual models of gender dysphoria and
                transgender identity............................................................................... 13

       E.       Four competing models of therapy. ....................................................... 16

                1.        The two “watchful waiting” therapy models. ............................. 16

                2.        The psychotherapy model: Alleviate distress by identifying
                          and addressing causes (model #3). .............................................. 17

                3.        The affirmation therapy model (model #4). ................................ 20

IV.    THERE IS NO CONSENSUS OR AGREED “STANDARD OF CARE”
       CONCERNING THERAPEUTIC APPROACHES TO CHILD OR
       ADOLESCENT GENDER DYSPHORIA. .................................................... 22

       A.       Experts and organizations disagree as to whether “distress” is a
                necessary element for diagnoses that justify treatment for gender
                identity issues. ........................................................................................ 23

       B.       Opinions and practices vary widely about the utilization of social
                transition for children and adolescents. ................................................ 26

       C.       The WPATH “Standards of Care” is not an impartial or evidence-
                based document. ..................................................................................... 27

       D.       Opinions and practices differ widely with respect to the proper role
                of psychological counseling before, as part of, or after a diagnosis of
                gender dysphoria .................................................................................... 31

       E.       Opinions and practices vary widely with respect to the
                administration of puberty blockers and cross-sex hormones. .............. 33



                                                           ii
         Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 3 of 144




       F.       European health authorities recognize that medical transition is
                unproven, experimental and dangerously uncertain. ........................... 36

V.     TRANSGENDER IDENTITY IS NOT BIOLOGICALLY BASED. .......... 41

       A.       No theory of biological basis has been scientifically validated. ............ 41

       B.       Large changes across time and geography in the epidemiology of
                transgender identification are inconsistent with the hypothesis of a
                biological basis for transgender identity. .............................................. 42

       C.       Disorders of sexual development (or DSDs) and gender identity are
                very different phenomena, and it is an error to conflate the two. ........ 45

       D.       Studies of individuals born with DSDs suggest that there may be a
                biological predisposition towards typical gender identifications, but
                they provide no support for a biological basis for transgender
                identification........................................................................................... 47

VI.    GENDER IDENTITY IS EMPIRICALLY NOT FIXED FOR MANY
       INDIVIDUALS. ............................................................................................... 48

       A.       Most children who experience gender dysphoria ultimately “desist”
                and resolve to cisgender identification. ................................................. 48

       B.       Desistance is increasingly observed among teens and young adults
                who first manifest GD during or after adolescence. ............................. 49

VII.   TRANSITION AND AFFIRMATION ARE IMPORTANT
       PSYCHOLOGICAL AND MEDICAL INTERVENTIONS THAT
       CHANGE GENDER IDENTITY OUTCOMES. .......................................... 53

       A.       If both a typical gender or a transgender long-term gender identity
                outcome are possible for a particular patient, the alternatives are
                not medically neutral. ............................................................................ 53

       B.       Social transition of young children is a powerful psychotherapeutic
                intervention that radically changes outcomes, almost eliminating
                desistance. .............................................................................................. 53

       C.       Administration of puberty blockers is a powerful medical and
                psychotherapeutic intervention that radically changes outcomes,
                almost eliminating desistance on the historically observed
                timeline. .................................................................................................. 57




                                                           iii
           Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 4 of 144




VIII. TRANSITION AND AFFIRMATION ARE EXPERIMENTAL
      THERAPIES THAT HAVE NOT BEEN SHOWN TO IMPROVE
      MENTAL OR PHYSICAL HEALTH OUTCOMES BY YOUNG
      ADULTHOOD.................................................................................................. 58

        A.       The knowledge base concerning therapies for gender dysphoria is
                 “very low quality.” .................................................................................. 58

        B.       Youth who adopt a transgender identity show no durable
                 improvement in mental health after social, hormonal, or surgical
                 transition and affirmation. .................................................................... 61

        C.       Long-term mental health outcomes for individuals who persist in a
                 transgender identity are poor. ............................................................... 63

IX.     TRANSITION AND AFFIRMATION DO NOT DECREASE, AND
        MAY INCREASE, THE RISK OF SUICIDE. .............................................. 65

        A.       The risk of suicide among transgender youth is confused and
                 exaggerated in the public mind. ............................................................ 65

        B.       Transition of any sort has not been shown to reduce levels of
                 suicide. .................................................................................................... 68

X.      HORMONAL INTERVENTIONS ARE EXPERIMENTAL
        PROCEDURES THAT HAVE NOT BEEN PROVEN SAFE. ................... 72

        A.       Use of puberty blockers has not been shown to be safe or reversible
                 for gender dysphoria. ............................................................................. 73

        B.       Use of cross-sex hormones in adolescents for gender dysphoria has
                 not been shown to be medically safe except in the short term. ............ 78

        C.       The timing of harms. .............................................................................. 81

XI.     SCHOOLS ARE NOT EQUIPPED TO RESOLVE THE COMPLEX
        ETHICAL IMPLICATIONS RAISED BY SOCIAL TRANSITION. ........ 83

        A.       Involvement of a mental health professional is necessary for
                 accurate diagnosis and appropriate treatment, and access to a
                 mental health professional ordinarily requires parental
                 involvement. ........................................................................................... 84

        B.       Parental involvement is necessary for accurate and thorough
                 diagnosis of the child. ............................................................................. 85




                                                             iv
            Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 5 of 144




         C.        Parental involvement is important for effective psychotherapeutic
                   treatment and support of the child. ....................................................... 88

         D.        Schools cannot enable and obtain informed consent. ........................... 89

BIBLIOGRAPHY ....................................................................................................... 94

EXHIBIT A ............................................................................................................... A1




                                                            v
           Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 6 of 144




I.    CREDENTIALS
      1.       I am Clinical Professor of Psychiatry at Case Western Reserve

University School of Medicine and maintain an active private clinical practice. I

received my M.D. from Case Western Reserve University in 1967 and completed a

psychiatric residency at the University Hospitals of Cleveland in 1973. I became an

Assistant Professor of Psychiatry at Case Western in 1973, became a Full Professor

in 1985, and in 2021 was honored to be inducted into the Department of Psychiatry’s

“Hall of Fame.”

      2.       Since July 1973, my specialties have included psychological problems

and conditions relating to individuals’ sexuality and sexual relations, therapies for

sexual problems, and the relationship between love, intimate relationships, and

wider mental health. In 2005, I received the Masters’ and Johnson Lifetime

Achievement Award from the Society of Sex Therapy and Research. I am a

Distinguished Life Fellow of the American Psychiatric Association.

      3.       I have served as a book and manuscript reviewer for numerous

professional publications. I have been the Senior Editor of the first (2003), second

(2010), and third (2016) editions of the Handbook of Clinical Sexuality for Mental

Health Professionals. In addition to five previously solo-authored books for
professionals, I have published Psychotherapeutic Approaches to Sexual Problems in

2020. The book has a chapter titled “The Gender Revolution.”

      4.       In total I have authored or co-authored over 180 journal articles and

book chapters, 27 of which deal with the issue of gender dysphoria. I was an invited

member of a Cochrane Collaboration subcommittee that sought to publish a review

of the scientific literature on the effectiveness of puberty blocking hormones and of

cross-sex hormones for gender dysphoria for adolescents. Cochrane Reviews are a
well-respected cornerstone of evidence-based practice, comprising a systematic


                                          1
           Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 7 of 144




review that aims to identify, appraise, and synthesize all the empirical evidence that

meets pre-specified eligibility criteria in response to a particular research question.

      5.       I first encountered a patient suffering what we would now call gender

dysphoria in July 1973. In 1974, I founded the Case Western Reserve University

Gender Identity Clinic and have served as Co-Director of that clinic since that time.

Across the years, our Clinic treated hundreds of patients who were experiencing a

transgender identity. An occasional grade school-aged child or younger were seen

during this era. I was the primary psychiatric caregiver for several dozen of our

patients and supervisor of the work of other therapists. I was an early member of the

Harry Benjamin International Gender Dysphoria Association (later known as

WPATH) and served as the chairman of the committee that developed the 5th version

of its Standards of Care. In 1993 the Gender Identity Clinic was renamed, moved to

a new location, and became independent of Case Western Reserve University. I

continue to serve as Co-Director.

      6.       In the course of my five decades of practice treating patients who

suffered from gender dysphoria, I have at one time or another recommended or

supported social transition, cross-sex hormones, and surgery for particular patients,

but only after extensive diagnostic and psychotherapeutic work.
      7.       In 2006, Judge Mark Wolf of the United States District Court for the

District of Massachusetts asked me to serve as an independent, court-appointed

expert in a litigation involving the treatment of a transgender inmate within the

Massachusetts prison system. In that litigation, the U.S. Court of Appeals for the

First Circuit in a 2014 (en banc) opinion cited and relied on my expert testimony. I

have been retained by the Massachusetts Department of Corrections as a consultant

on the treatment of transgender inmates since 2007. This supervisory, consultative,

and direct educational work continues to this day.


                                           2
           Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 8 of 144




      8.       In 2019, I was qualified as an expert and testified concerning the

diagnosis, understanding, developmental paths and outcomes, and therapeutic

treatment of transgenderism and gender dysphoria, particularly as it relates to

children, in the matter of In the Interest of J.A.D.Y. and J.U.D.Y., No. DF-15-09887-

S, 255th Judicial District, Dallas County, TX (the “Younger litigation”).

      9.       In 2019, I provided written expert testimony in the landmark case in the

United Kingdom in the case of Bell v. The Tavistock and Portman NHS Foundation

Trust. I have provided expert testimony in other litigation as listed in my curriculum

vitae, which is attached as Exhibit A.

      10.      I am regularly requested to speak on the topic of gender dysphoria and

have given countless presentations to academic conferences and Departments of

Psychiatry around the country. In May 2022, I organized and co-presented a

symposium on the management of adolescent-onset transgender identity at American

Psychiatric Association’s Annual Meeting. In June 2023, I spoke in Finland at a

conference on psychotherapy for adolescents with a trans identity. In the Fall of 2023,

I am scheduled to provide three separate lectures at three national conferences: one

on global public health perspectives and two on aspects of the psychiatric evaluation

and psychotherapy of trans youth and their parents.
      11.      A fuller review of my professional experience, publications, and awards

is provided in Exhibit A.

      12.      The bases for my opinions expressed in this declaration are my

professional experience as a psychiatrist, my knowledge of the pertinent scientific

literature, and my review of the Verified Complaint filed by the Plaintiff.

      13.      I am being compensated for my time spent in preparation of this report

at a rate of $400.00 per hour and for time spent during and in preparation for trial

and/or deposition testimony at a rate of $500.00 per hour. My compensation is not
dependent upon the outcome of this litigation or the substance of my opinions.
                                           3
           Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 9 of 144



II.   SUMMARY
      14.      A summary of the key points that I explain in this declaration is as

follows:

            a. Sex as defined by biology and reproductive function is clear, binary, and

               cannot be changed. While hormonal and surgical procedures may enable

               some individuals to “pass” as the opposite gender during some or all of

               their lives, such procedures carry with them physical, psychological, and

               social risks, and no procedures can enable an individual to perform the

               reproductive role of the opposite sex. (Section III.A.)

            b. The diagnosis of “gender dysphoria” encompasses a diverse array of

               conditions, with widely differing pathways and characteristics

               depending on age of onset, biological sex, mental health, intelligence,

               motivations for gender transition, socioeconomic status, country of

               origin, etc. Data from one population (e.g., adults) cannot be assumed to

               be applicable to others (e.g., children). The term transgender, which is

               widely used by individuals with differing identities—nonbinary, gender

               fluid, queer, for instance, is not a synonym for the diagnosis of “gender

               dysphoria.” (Section III.B.)

            c. Among practitioners in the field, there are currently widely varying
               views concerning both the causes of and appropriate therapeutic

               response to gender dysphoria in children and adolescents. There are no

               generally accepted “standards of care,” and existing studies do not

               provide a basis for a scientific conclusion as to which therapeutic

               response results in the best long-term outcomes for affected individuals.

               The scientific basis for affirmative care is uncertain. (Section IV.)

            d. Transgender identities are not biologically based; they are not simply
               determined prenatally. Rather, gender dysphoria is a psychiatric

                                              4
Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 10 of 144




    condition that cannot be identified by any biological test or

    measurement. (Sections V.A.)

 e. Disorders of sexual development (“DSDs”) are biologically based

    phenomena. It is an error to conflate and/or scientifically link DSDs with

    incidents of gender dysphoria. (Sections V.C, V.D.)

 f. The large majority of children who are diagnosed with gender dysphoria

    “desist”—that is, their gender dysphoria does not persist—by puberty or

    adulthood. Desistance is also increasingly observed among teens and

    young adults who have experienced “rapid onset gender dysphoria”—

    first manifesting gender dysphoria during or shortly after adolescence.

    Such desistence is usually discussed as detransition or retransition.

    (Sections VI.A., VI.B.)

 g. “Social transition”—the active affirmation of a transgender identity

    through name change at home and in school, hair and dress styles, and

    pronoun change—in children is a powerful intervention that solidifies

    the child’s sense that “sex” can be changed through gender presentation.

    While social transition is not itself medical intervention, it strongly

    predisposes the child and family to desire and receive puberty blockers,
    cross-sex hormones and surgical interventions, each of which have

    social, psychological, and. medical negative consequences. Thus, social

    transition leads to medicalization and far fewer children desisting by

    puberty. (Sections VII.A, VII.B.)

 h. Administration of puberty blockers is not a benign “pause” of puberty,

    but rather a powerful medical and psychotherapeutic intervention that

    almost invariably leads to persistence in a transgender identity and,

    ultimately, to the administration of cross-sex hormones. (Section VII.C.)


                                 5
Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 11 of 144




 i. The knowledge base concerning the “affirmative” treatment of gender

    dysphoria available today has very low scientific quality with many

    relevant long-term implications remaining unknown. (Section VIII.A.)

 j. There are no studies that show that affirmation of transgender identity

    in young children reduces suicide or suicidal ideation, or improves long-

    term outcomes, as compared to other therapeutic approaches.

    Meanwhile, multiple studies show that adult individuals living

    transgender lives suffer much higher rates of suicidal ideation,

    completed suicide, and negative physical and mental health conditions

    than does the general population. This is true before and after

    transition, hormones, and surgery. (Section VIII.B., VIII.C.)

 k. In light of what is known and not known about the impact of affirmation

    on the incidence of suicide, suicidal ideation, and other indicators of

    mental and physical health, it is scientifically baseless, and therefore

    unethical, to assert that a child or adolescent who express an interest in

    a transgender identity will kill him- or herself unless adults and peers

    affirm that child in a transgender identity. (Section IX.)

 l. Hormonal interventions to treat gender dysphoria are unproven,
    experimental, and dangerously uncertain. (Sections X, IV.F). Such

    treatments place an individual at risk of a wide range of long-term and

    even life-long harms including: physical health risks; sterilization and

    its personal and interpersonal emotional responses; impaired sexual

    functional capacity; surgical complications and life-long after-care;

    alienation of family and romantic relationships; elevated mental health

    risks of depression, anxiety, and substance abuse. The most overlooked

    and undiscussed harm, however, is shortened life expectancy. (Sections
    V.III, X.)
                                 6
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 12 of 144




             m. The prevalence of the diagnosis of gender dysphoria in children and

                adolescents is higher among those in foster care, those who have been

                adopted, those with autism, a prior psychiatric diagnosis and other

                earlier adversities such as neglect, or physical and sexual abuse. In the

                last decade, the prevalence of girls who claim to be transgendered has

                conspicuously increased. (Section III.C.)

             n. Schools are not equipped to guide minors through the difficult and life-

                altering   decisions   surrounding   social   transition   to   support   a

                transgender identity given the complex medical issues that arise.

                (Section XI.)

III.   BACKGROUND ON THE FIELD

       A.       The biological baseline of the binary sexes.
       15.      Biological sex is very well defined in all biological sciences including

medicine. It is pervasively important in human development throughout the lifecycle.

       16.      Sex is not “assigned at birth” by humans visualizing the genitals of a

newborn; it is not imprecise. Rather, it is clear, binary, and determined at conception.

The sex of a human individual at its core structures the individual’s reproductive

capabilities—to produce ova and bear children as a mother, or to produce semen and
beget children as a father. As physicians know, sex determination occurs at the

instant of conception, depending on whether a sperm’s X or Y chromosome fertilizes

the egg. A publication of the federal government’s National Institute of Health

accurately summarizes the scientific facts:

                Sex is a biological classification, encoded in our DNA. Males
                have XY chromosomes, and females have XX chromosomes. Sex
                makes us male or female. Every cell in your body has a sex—
                making up tissues and organs, like your skin, brain, heart, and
                stomach. Each cell is either male or female depending on
                whether you are a man or a woman.” (NIH, How Sex and
                Gender Influence Health and Disease, 2022.)
                                             7
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 13 of 144




      17.    The binary of biological sex is so fundamental and wide-ranging in its

effects on human (and mammal) development and physiology that since 2014, the

NIH has required all funded research on humans or vertebrate animals to include

“sex as a biological variable” and give “adequate consideration of both sexes in

experiments.” (NIH 2015.) In 2021, the Endocrine Society issued a position paper

elaborating on the application of the NIH requirement. The Endocrine Society

correctly stated that “Sex is a biological concept . . . all mammals have 2 distinct

sexes;” that “biological sex is . . . a fundamental source of intraspecific variation in

anatomy and physiology;” and that “In mammals, numerous sexual traits (gonads,

genitalia, etc.) that typically differ in males and females are tightly linked to each

other because one characteristic leads to sex differences in other traits.” (Bhargava

et al. 2021 at 221, 229.)

      18.    The Endocrine Society emphasized that “The terms sex and gender

should not be used interchangeably,” and noted that even in the case of those “rare”

individuals who suffer from some defect such that they “possess a combination of

male- and female-typical characteristics, those clusters of traits are sufficient to

classify most individuals as either biologically male or female.” They concluded, “Sex

is an essential part of vertebrate biology, but gender is a human phenomenon. Sex
often influences gender, but gender cannot influence sex.” (Bhargava et al. 2021 at

220–221, 228.) This latter phrase requires repeated emphasis.

      19.    As these statements and the NIH requirement suggest, biological sex

pervasively influences human anatomy, its development and physiology. This

includes, of course, the development of the human brain, in which many sexually

dimorphic characteristics have now been identified. In particular, the Endocrine

Society and countless other researchers have determined that human brains undergo

sex-specific developmental stages during puberty. This predictable developmental
process is a genetically controlled coordinated endocrine response that begins with
                                           8
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 14 of 144




pituitary influences leading to increases in circulating sex hormones. (Bhargava et

al. 2021 at 225, 229; Blakemore et al. 2010 at 926–927, 929; NIH 2001.) This internal

endocrine process begins well before puberty is manifested on the body and its

function.

      20.    Humans have viewed themselves in terms of binary sexes since the

earliest historical records. Recognizing a concept of “gender identity” as something

distinct from sex is a rather recent innovation whose earliest manifestations likely

began in the late 1940s. Its usage became common in medicine in the 1980s and

subsequently in the larger culture. Definitions of gender have been evolving and

remain individual-centric and subjective. In a statement on “Gender and Health,” the

World Health Organization defines “gender” as “the characteristics of women, men,

girls and boys that are socially constructed” and that “var[y] from society to society

and can change over time,” and “gender identity” as referring to “a person’s deeply

felt, internal and individual experience of gender.” (WHO Gender and Health.) As

these definitions indicate, a person’s “felt” “experience of gender” is inextricably

bound up with and affected by societal gender roles and stereotypes—or, more

precisely, by the affected individual’s perception of societal gender roles and

stereotypes and their personal idiosyncratic meanings. Typically, gendered persons
also have subtly different, often idiosyncratic, reactions to societal gender roles and

stereotypes without preoccupation with changing their anatomy.

      21.    Thus, the self-perceived gender of a child begins to develop along with

the early stages of identity formation generally, influenced in part from how others

label the infant: “I love you, son (daughter).” This designation occurs thousands of

times in the first two years of life when a child begins to show awareness of the two

possibilities. As acceptance of the designated gender corresponding to the child’s sex

is the outcome in >99% of children everywhere, anomalous gender identity formation
begs for understanding. Is it biologically shaped? Is it biologically determined? Is it
                                          9
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 15 of 144




the product of how the child was privately regarded and treated? Is it a product of the

quality of early life caregiver attachments? Does it stem from trauma-based rejection

of maleness or femaleness, and if so, flowing from what trauma? Does it derive from

a tense, chaotic interpersonal parental relationship without physical or sexual abuse?

Is it a symptom of another, as of yet, unrevealed, emotional disturbance or

neuropsychiatric condition (autism)? The answers to these relevant questions are not

scientifically known but are not likely to be the same for every trans-identified child,

adolescent, or adult.

      22.    Under the influence of hormones secreted by the testes or ovaries,

numerous additional sex-specific differences between male and female bodies

continuously develop postnatally, culminating in the dramatic maturation of the

primary and secondary sex characteristics with puberty. These include differences in

hormone levels, height, weight, bone mass, shape, musculature, internal organ size,

body fat levels and distribution, and hair patterns, as well as physiological differences

such as menstruation and ejaculation. These are genetically programmed biological

consequences of sex—the manifestations of sex over time, and in fact, throughout the

life cycle. Among the many consequences of sex is the evolution and consolidation of

gender identity during childhood, adolescence, and various eras of adulthood.
      23.    Despite the increasing ability of hormones and various surgical

procedures to reconfigure some male bodies to visually pass as female, or vice versa,

the biology of the person remains as defined by his (XY) or her (XX) chromosomes,

including cellular, anatomic, and physiologic characteristics and the particular

disease vulnerabilities associated with that chromosomally defined sex. For instance,

the XX (genetically female) individual who takes testosterone to stimulate certain

male secondary sex characteristics will nevertheless remain unable to produce sperm

and father children. Contrary to assertions and hopes that medicine and society can
fulfill the aspiration of the trans-identifying individual to become “a complete man”
                                           10
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 16 of 144




or “a complete woman,” this is not biologically attainable. (Levine 2018a at 6; Levine

2016 at 238.) It is possible for some adolescents and adults to pass unnoticed—that

is, to be perceived by most individuals as a member of the gender that they aspire to

be—but with limitations, costs, and risks, as I detail later.

      B.     Definition and diagnosis of gender dysphoria.
      24.    Specialists have used a variety of terms over time, with somewhat

shifting definitions, to identify and speak about a distressing incongruence between

an individual’s genetically determined sex and the gender with which they identify

or to which they aspire. The American Psychiatric Association first used the term

“gender identity disorder” in its Diagnostic and Statistical Manual of Mental

Disorders in 1980 (DSM-3) to replace “transsexualism.” The term “gender dysphoria”

was introduced in the 2013 version of the DSM (DSM-5). Today’s version of the DSM

(DSM-5-TR) defines gender dysphoria with separate sets of criteria for adolescents

and adults and for children.

      25.    There are at least five distinct pathways to gender dysphoria: (i) early

childhood onset; (ii) onset near or after puberty with no prior cross gender patterns;

(iii) onset after defining oneself as gay for several or more years and participating in

a homosexual lifestyle; (iv) adult onset after years of heterosexual transvestism; (v)
and onset in later adulthood with few or no prior indications of cross-gender

tendencies or identity. (Levine 2021.)

      26.    Gender dysphoria has very different characteristics depending on age,

sex at onset, and era. Young children who are living a transgender identity commonly

suffer materially fewer symptoms of concurrent mental distress than do older

patients. (Zucker 2018 at 10.) The developmental and mental health patterns for each

of these groups are sufficiently different that data developed in connection with one

of these populations cannot be assumed to be applicable to another.


                                          11
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 17 of 144




      27.    The criteria used in DSM-5-TR to identify Gender Dysphoria include

signs of discomfort with one’s natal sex and vary somewhat depending on the age of

the patient, but in all cases require “clinically significant distress or impairment in .

. . important areas of functioning” such as social, school, or occupational settings. The

symptoms must persist for at least six months. The diagnostician must consider

whether the impairments are developmentally due to the incongruence, per se, and

not symptoms of another underlying developmental difficulties. This is a very difficult

discernment to make.

      28.    Children who conclude that they are transgender are often unaware of

a vast array of adaptive possibilities for how to live life as a man or a woman—

possibilities that become increasingly apparent over time to both males and females.

A boy or a girl who claims or expresses interest in pursuing a transgender identity

often does so based on stereotypical notions of femaleness and maleness that reflect

constrictive notions of what men and women can be. (Levine 2017 at 7.) A young

child’s—or even an adolescent’s—understanding of this topic is quite limited. Nor can

they grasp what it may mean for their future to be sterile. (Levine et al. 2022a.) These

children and adolescents consider themselves to be relatively unique; they do not

realize that discomfort with the body and perceived social role is neither rare nor new
to civilization. (Jorgensen 2023.) What is new is that such discomfort is thought to

indicate that they must be a trans person.

      C.     Impact of gender dysphoria on minority and vulnerable
             groups.
      29.    Given that, as I discuss later, a diagnosis of gender dysphoria is now

frequently putting even young children on a pathway that leads to irreversible

physical changes and sterilization by young adulthood, it should be of serious concern

to all practitioners that minority and vulnerable groups are receiving this diagnosis
at disproportionately high rates. These include: children of color (Rider et al. 2018),

                                           12
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 18 of 144




children with mental developmental disabilities (Reisner et al. 2015), children on the

autistic spectrum (at a rate more than 7x the general population) (Shumer et al. 2016;

van der Miesen et al. 2018), children with ADHD (Becerra-Culqui et al. 2018),

children residing in foster care homes, adopted children (at a rate more than 3x the

general population) (Shumer et al. 2017), victims of childhood sexual or physical

abuse or other “adverse childhood events” (Thoma et al. 2021; Newcomb et al. 2020;

Kozlowska et al. 2021), children with a prior history of psychiatric illness (Edwards-

Leeper et al. 2017; Kaltiala-Heino et al. 2015; Littman 2018), and more recently

adolescent girls (in a large recent study, at a rate more than 2x that of boys). (Rider

et al. 2018 at 4.)

       D.     Three competing conceptual models of gender dysphoria and
              transgender identity.
       30.    Discussions about appropriate responses by mental health professionals

(“MHPs”) to actual or sub-threshold gender dysphoria are complicated by the fact that

various speakers and advocates (or a single speaker at different times) view

transgenderism through at least three very different paradigms, often without being

aware of, or at least without acknowledging, the distinctions.

       31.    Gender dysphoria is conceptualized and described by some professionals

and laypersons, particularly in court rooms, as though it were a serious, physical
medical illness that causes suffering, comparable to diseases that are curable before

they spread, such as melanoma or sepsis. Within this paradigm, whatever is causing

distress associated with gender dysphoria—whether menstruation, facial hair, nose

and jaw shape, presence or absence of breasts, or the anatomical sex organs of testes,

ovaries, penis, or vagina—should be removed to alleviate the illness. Proponents of

this paradigm often claim that gender dysphoria is biologically caused during

embryonic development, immutable, impervious to psychiatric treatment, and cured
by hormonal and surgical treatments. But studies quoted to support a biological cause

                                          13
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 19 of 144




of gender dysphoria are old, unreplicated, theoretical, and have been called into

question in more recent reviews. (Mueller et al. 2017 at 1158–59, Frigerio et al. 2021

at 3347.)

      32.    The medical paradigm of understanding gender dysphoria is inaccurate.

Gender dysphoria is a psychiatric, not a medical, diagnosis. Since its inception in

DSM-III in 1980, it has always been specified in the psychiatric DSM manuals and

has not been specified in medical diagnostic manuals. Notably, gender dysphoria is

the only psychiatric condition to be treated by surgery, even though no endocrine or

surgical intervention package corrects any identified biological abnormality. (Levine

2016 at 240.)

      33.    Gender dysphoria is alternatively conceptualized in developmental

terms, as an adaptation to a psychological problem that may have been first

manifested as a failure to establish a comfortable sense of self in early childhood. This

paradigm starts from the premise that all human lives are influenced by past

processes and events. The lives of those with a current trans identity are not

exceptions to this axiom. (Levine 2016 at 238.) MHPs who think of gender dysphoria

through this paradigm may work both to identify and address causes of the basic

problem of the deeply uncomfortable self or a sense of self impaired by later adversity
or abuse. The purpose is to ameliorate suffering when the underlying problem cannot

be solved. MHPs first work with the patient and (ideally) family to learn about the

events and processes that may have led to the trans-identifying person repudiating

the gender associated with his or her sex. The developmental paradigm is mindful of

temperamental, parental bonding, psychological, sexual, and physical trauma

influences, and the fact that young children work out their psychological issues

through fantasy and play and adolescents work out their issues by adopting various

interests and identity labels.


                                           14
          Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 20 of 144




         34.   There is evidence among adolescents that peer social influences through

“friend groups” (Littman 2018) or through the internet can increase the incidence of

gender dysphoria or claims of transgender identity. Responsible MHPs will want to

probe these potential influences to better understand what is truly deeply tied to the

psychology of the patient, and what may instead be being “tried on” by the youth as

part of the adolescent process of self-exploration and self- definition. The dramatic

recent increase in adolescents who do not identify as heterosexual is evidence of social

influences in today’s cultural environment. Among this larger group, the segment

who identify as binary and nonbinary transgender persons have been seeking

assistance and overwhelming clinical services in many countries, particularly in the

UK. (Cass 2022 at 32–34, 45–47, 56.)

         35.   In addition, the developmental paradigm recognizes that, with the

important exception of genetic sex, essentially all aspects of an individual’s identity

evolve—often markedly—across the individual’s lifetime. This includes a person’s

understanding of gender. Some advocates assert that a transgender identity is

biologically caused, fixed from early life, and eternally present in an unchanging

manner. As I review later, however, this assertion is not supported by science.1

         36.   The third paradigm through which gender dysphoria is alternatively
conceptualized is from a sexual minority rights perspective. Under this

paradigm, any response other than medical and societal affirmation and

implementation of a patient’s claim to “be” the opposite gender is a violation of the

individual’s civil right to self-expression. Any effort to ask “why” questions about the

patient’s condition, or to address underlying causes, is viewed as a violation of

autonomy and civil rights. In the last few years, this paradigm has been successful in


     1
        Even the advocacy organization The Human Rights Campaign asserts that a
person can have “a fluid or unfixed gender identity.”
https://www.hrc.org/resources/glossary-of-terms.

                                          15
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 21 of 144




influencing public policy and the education of pediatricians, endocrinologists, and

many mental health professionals. Obviously, however, this is not a medical or

psychiatric perspective. Unfortunately, it appears to be the most powerful perspective

that exists in the public, non-scientific debate.

      E.     Four competing models of therapy.
      37.    Few would disagree that the human psyche is complex. Few would

disagree that children’s and adolescents’ developmental pathways typically have

surprising twists and turns. The complexity and unpredictability of childhood and

adolescent development equally applies to trans-identifying youth. Because of past

difficulties of running placebo-controlled clinical trials in this arena, substantial

disagreements among professionals exist about the causes of trans identities and

their ideal treatments. These current disagreements might have been minimized if

trans treated persons were carefully followed up to determine long term outcomes.

They have not been. When we add this to the very different current paradigms for

understanding transgender phenomena, it is not scientifically surprising that

disagreements are sharply drawn. It is with this in mind that I summarize below the

leading approaches and offer certain observations and opinions concerning them.

             1.     The two “watchful waiting” therapy models.
      38.    In Section VI.A below I review the uniform finding of eleven follow-up

studies that the large majority of children who present with gender dysphoria will

desist from desiring a transgender identity by adulthood if left untreated by social

transition approaches.

      39.    When a pre-adolescent child presents with gender dysphoria, a

“watchful waiting” approach seeks to allow for the fluid nature of gender identity in

children to naturally evolve—that is, take its course from forces within and

surrounding the child. After a comprehensive evaluation of the child or adolescent
and with the parents, a first model of “watchful waiting” prescribes no treatment
                                           16
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 22 of 144




except a regular follow up appointment to ascertain how the minor and the family

are doing and what else might be useful. Informally, model #1 can be referred to as

an “hands off” approach to let development proceed. The therapist, however,

establishes their interest in the person and wants to remain in touch regularly.

      40.    Model #2 of the watchful waiting has no focus on the minor’s gender

identity per se. It is based on treating psychological co-morbidities—that is, other

mental illnesses as defined by DSM-5-TR (separation anxiety disorder, attention

deficit hyperactivity disorder, autism spectrum disorder, obsessive compulsive

disorder, etc), or subthreshold for diagnosis but behavioral problems that the child

may    exhibit    (school   avoidance,   bedwetting,   inability   to   make   friends,

aggression/defiance). When gender is understood and expected to be one of the

subjects of and for the intervention, a third model becomes apparent.

             2.      The psychotherapy model: Alleviate distress by
                     identifying and addressing causes (model #3).
      41.    One of the foundational principles of psychotherapy has long been to

work with a patient to identify the causes of observed psychological distress and then

to address those causes as a means of alleviating the distress. The National Institute

of Mental Health has promulgated the idea that 75% of adult psychopathology has

its origins in childhood experience.
      42.    Many experienced practitioners in the field of gender dysphoria,

including myself, have believed that it makes sense to employ these long-standing

tools of psychotherapy for patients suffering gender dysphoria, asking the questions:

What factors in the patient’s life are the determinants of the patient’s repudiation of

his or her natal sex and What is it about the other gender that you desire to

incorporate into your life? (Levine 2017 at 8; Spiliatis 2019; Levine 2021; Levine et

al. 2022b.) I and others have reported success in alleviating distress in this way for
at least some patients, whether the patient’s sense of discomfort or incongruence with

                                          17
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 23 of 144




his or her natal sex entirely disappeared or not. Relieving accompanying

psychological co-morbidities leaves the patient freer to consider the pros and cons of

transition as he or she matures. It improves their capacity to understand the gravity

of the transition that they seem to want to undertake.

      43.    Among other things, the psychotherapist who is applying traditional

methods of psychotherapy may help—for example—the male patient to appreciate

the wide range of masculine emotional and behavioral patterns as he grows older. He

may discuss with his patient, for example, that one does not have to become a

“woman” to be kind, compassionate, caring, noncompetitive, to love the arts, and to

be devoted to others’ feelings and needs. (Levine 2017 at 7.) Many biological males

identifying as transgender, from childhood to older ages, speak of their perceptions of

femaleness as enabling them to discuss their feelings openly, whereas they perceive

boys and men to be constrained from emotional expression within the family and

larger culture, and to be aggressive. Men, of course, can be emotionally expressive,

just as they can wear pink. Converse examples can be given for girls and women.

Girls don’t have to conform to stereotypic media images that bombard them, nor do

they have to have the traits and the problems that they see in the women in their

families. These types of ideas regularly arise during psychotherapies.
      44.    Many gender-nonconforming children and adolescents in recent years

derive from minority and vulnerable groups who have reasons to feel isolated and

have an uncomfortable sense of self. A trans identity may be a hopeful attempt to

redefine the self in a manner that increases their comfort and decreases their anxiety.

The clinician who uses traditional methods of psychotherapy may not focus on their

gender identity, but instead work to help them to address the actual sources of their

discomfort. They may enable the patient to understand the commonality of discomfort

with the body’s physiology, the growth process, and the struggle to accept oneself
during the pubertal developmental process. Patients need to understand that this
                                          18
          Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 24 of 144




discomfort with one’s body, per se, and one’s attractiveness relative to others,

typically lasts for several or more years. Success in this effort may remove or reduce

the desire for a redefined identity. This often involves a focus on disruptions in their

attachment to parents in vulnerable children, for instance, those in the foster care

system.

      45.     Because “watchful waiting” can include treatment of accompanying

psychological co-morbidities, and the psychotherapist who hopes to relieve gender

dysphoria may focus on potentially causal sources of psychological distress rather

than on the gender dysphoria itself, there is no sharp line between “watchful waiting”

and the psychotherapy model in the case of prepubescent children.

      46.     To my knowledge, there is no evidence beyond anecdotal reports that

psychotherapy can enable a return to male identification for genetically male boys,

adolescents, and men, or return to female identification for genetically female girls,

adolescents, and women. On the other hand, anecdotal evidence of such outcomes

does exist; I and other clinicians have witnessed reinvestment in the patient’s

biological sex in some individual patients who are undergoing psychotherapy. The

Internet contains many such reports, and I have published a paper on a patient who

sought my therapeutic assistance to reclaim his male gender identity after 30 years
living as a woman and is in fact living as a man today. (Levine 2018b.) I have seen

children desist even before puberty in response to thoughtful parental interactions

and a few meetings of the child with a therapist. There are now a series of articles

and at least one major book on the psychological treatment of adolescents. (See, e.g.,

D’Angelo et al. 2021; Evans & Evans 2021.) Among detransitioners, a large

percentage of this growing population express regret that their affirmative therapists

did not recommend psychotherapy before encouraging hormonal treatment. (Littman

2021.) Expósito-Campos pointed out the large number of reports on detransition and
the far greater traffic on various nonprofessional websites. (Expósito-Campos 2021.)
                                          19
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 25 of 144




More recently, detransition and regret have been discussed in a balanced manner

acknowledging its complexities. (Jorgensen 2023; see also Levine & Abbruzzese 2023.)

It needs to be understood that when comparing anecdotal reports of the

psychotherapy, the convictions of affirmative care interventionalists are based on

anecdotal experiences and what they have been taught by their educators. Among

her many cogent observations in this field, Clayton has illuminated the power of the

placebo effect in the medicalization of trans youth wherein the patient’s expectations,

the professionals’ beliefs, and social movements combine to create short lived

symptom relief yielding the illusion of long-term benefit without supporting data.

(Clayton 2023 at 487–90.) And as reviewed in one of the world’s most prestigious

medical journals, the science in this field is uncertain. (Block 2023 at 2–4. See also

Section IV.)

               3.    The affirmation therapy model (model #4).
      47.      While it is widely agreed that, under any model, the therapist should

not directly challenge a claimed transgender identity in a child, some advocates and

practitioners go much further, and promote and recommend that any expression of

transgender identity should be immediately accepted as decisive, and thoroughly

affirmed by means of consistent use of clothing, toys, pronouns, etc., associated with
transgender identity. They argue that the child should be comprehensively re-

socialized in grade school or junior or senior high school in their aspired-to gender.

As I understand it, this is asserted as a reason why male students who assert a female

gender identity must be permitted to compete in girls’ or women’s athletic events.,

use girl’s bathrooms, and be addressed with a feminine name and pronouns. These

advocates treat any question about the causes of the child’s transgender identification

as inappropriate. They often fail to recognize and appreciate the child’s ambivalence.

They assume that observed psychological co-morbidities in the children or their


                                          20
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 26 of 144




families are unrelated or will get better with transition and need not be addressed by

the MHP who is providing supportive guidance concerning the child’s gender identity.

      48.    Some advocates, indeed, assert that unquestioning affirmation of any

claim of transgender identity in children is essential, and that the child will otherwise

face a high risk of suicide or severe psychological damage. This claim is simply not

supported by the clinical data we have available to us. Indeed, available long-term

data contradicts this claim. I address physical and mental health outcomes in Section

VIII below, and suicide in Section IX below.

      49.    The commonly referenced scientific basis for affirmative care of both

early life onset and adolescent onset gender dysphoria are two reports from de Vries

et al. (2011, 2014) that seemingly demonstrated the resolution of gender dysphoria

after a sequence of puberty blocking hormones, cross-sex hormones, and breast

removal or vaginoplasty. However, recently three articles describing the distinct

limitations of the “Dutch Protocol” have been widely circulating throughout the

world. (Levine et al. 2022b; Biggs 2022, Abbruzzese et al. 2023.) It is now apparent

that the basis for such affirmative care is not scientifically solid. Rapid diffusion of

the innovative Dutch Protocol occurred without the scientifically required

confirmatory, more rigorous studies. The one attempt to repeat their protocol in the
UK failed to demonstrate psychological benefits claimed by the Dutch studies.

(Carmichael et al. 2021.)

      50.    I do not know what proportion of practitioners are using which model.

However, in my opinion, in the case of young children, prompt and thorough

affirmation of a transgender identity disregards the principles of child development

and family dynamics and is not supported by science. Instead of science, this

approach is currently being reinforced by an echo-chamber of approval from other

like-minded child-oriented professionals who do not sufficiently consider the known
negative medical and psychiatric outcomes of trans-identifying adults. Rather than
                                           21
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 27 of 144




recommend social transition in grade school, the MHP must focus attention on the

child’s underlying internal and familial issues. Ongoing relationships between the

MHP and the parents, and the MHP and the child, are vital to help the parents, child,

other family members, and the MHP to understand over time the issues that need to

be dealt with by each of them. As I discuss further in Section IV.F below, it should be

noted that the distinct trend in western Europe is to make psychotherapy, not

affirmation, the first approach to gender dysphoria in children and adolescents.

      51.    Likewise, since the child’s sense of gender develops in interaction with

his parents and their own gender roles and relationships, the responsible MHP will

almost certainly need to delve into family and marital dynamics. This, however,

requires time and effort and for many parents, a challenge to find a therapist to do

such work with them. It also assumes that when a MHP is first involved with a

transgender-identified minor, a comprehensive psychiatric evaluation ensues. Even

organizations that strongly prioritize gender transition consider such an evaluation

to be a minimal threshold requirement. (Hembree et al. 2017 at 3872, 3876.)

Unfortunately, many children are evaluated only in terms of their gender identity,

and their parents are ill-informed about the risks and benefits of affirmative care.

(Levine et al. 2022a; Bisno et al. 2023.)

IV.   THERE IS NO CONSENSUS OR AGREED “STANDARD OF CARE”
      CONCERNING THERAPEUTIC APPROACHES TO CHILD OR
      ADOLESCENT GENDER DYSPHORIA.
      52.    There is far too little firm clinical evidence in this field to permit any

evidence-based standard of care. Given the lack of scientific evidence, it is neither

surprising nor improper that—as I detailed in Section III—there is a diversity of

views among practitioners as to the best therapeutic response for the child,

adolescent, or young adult who suffers from gender dysphoria. (Block 2023. See also
Section IV.F below.)


                                            22
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 28 of 144




      53.    Reviewing the state of opinion and practice in 2021, the Royal

Australian and New Zealand College of Psychiatrists observed that “There are

polarised views and mixed evidence regarding treatment options for people

presenting with gender identity concerns, especially children and young people.”

(RANZCP 2021.) Similarly, a few years earlier prominent Dutch researchers noted:

“[T]here is currently no general consensus about the best approach to dealing with

the (uncertain) future development of children with GD, and making decisions that

may influence the function and/or development of the child—such as social

transition.” (Ristori & Steensma 2016 at 18.)2 In this Section, I comment on some of

the more important areas of disagreement within the field.

      A.     Experts and organizations disagree as to whether “distress” is
             a necessary element for diagnoses that justify treatment for
             gender identity issues.
      54.    As outlined in Section III.B above, “clinically significant distress” is one

of the criteria used in DSM-5-TR to identify gender dysphoria. This indicates a

heightened level of distress that rises beyond a threshold level of social awkwardness

or discomfort with the changing body. It is known that many trans-identified youth

with incongruence between their sexed bodies and their gender identity choose not to

take hormones; their incongruence is quite tolerable as they further clarify their three
elements of sexual identity—gender identity, orientation, and intention (what the

person wants to do with a partner’s body during sex and what that person wants to

do to their own body to be aroused). This population raises the questions of what

distress is being measured when DSM-5-TR criteria are met and what else might be

done about it. However, there is no “clinically significant distress” requirement in

World Health Organization’s International Classification of Diseases (ICD-11)



2
  See also Zucker 2020 which questions the merit of social transition as a first-line
treatment.

                                          23
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 29 of 144




criteria for gender incongruence, which rather indicates “a marked and persistent

incongruence between an individual’s experienced gender and the assigned sex.”

(World Health Organization 2019.)

      55.    Therefore, even between these two committee-based authorities, there

is a significant disagreement as to what constitutes a gender condition justifying life-

changing interventions. To my knowledge, some American gender clinics and

practitioners are essentially operating under the ICD-11 criteria rather than the

DSM-5-TR criteria, prescribing social transition for children, hormonal interventions

for slightly older children, and different hormones for adolescents who assert a desire

for a transgender identity whether or not they are exhibiting “clinically significant

distress.” Others adhere to the DSM-5-TR diagnostic standard.

      56.    Affirmative care is said by advocates to be life enhancing and often to be

lifesaving on the theory it will reduce suicide. Based on the DSM-5-TR criterion,

distress is required for the diagnosis and its subsequent hormonal and surgical

treatments. Gender incongruence is often referred to as a unique form of suffering.

Yet, the ICD-11 criteria for the diagnosis of Gender Incongruence do not require

distress, just the wish to have the characteristics of the other sex and to change their

own sex demarcating features. This is ironic: dramatic interventions are claimed to
be medically necessary to avoid incomparable suffering and suicide, yet now no

distress is required for a medical intervention; just a desire for the intervention is all

that’s necessary to establish “medical necessity.” This is not legitimate from a medical

point of view.

      57.    I will add that even from within one “school of thought,” it is not

responsible to make a single, categorical statement about the proper treatment of

children or adolescents presenting with gender dysphoria or other gender-related

issues. There is no single pathway to the development of a trans identity and no
reasonably uniform short- or long-term outcome from medically treating it. As
                                           24
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 30 of 144




individuals grow physically, mature psychologically, and experience or fail to

experience satisfying romantic relationships, their life course depends on their

differing psychological, social, familial, and life experiences. There should be no trust

in assertions that trans-identified youth must be treated in a particular manner to

avoid harm for three reasons. First, there is no systematic data on the nature of, and

the rate of harms or benefits of either affirmative treatment, no treatment, or

psychological only treatment. Second, as in other youthful psychiatric and other

challenges, outcomes vary. Third, many psychological, social, and experiential forces

outside of medical professions’ knowledge shape outcomes. Medical and surgical

interventions do not necessarily take account of, nor resolve, the broader issues facing

the youth in question. There is no psychiatric condition—depression, anxiety,

schizophrenia—where one size fits all.

      58.    In 2012, the American Psychiatric Association asserted that being

transgender “implies no impairment in judgment, stability, reliability, or general

social or vocational capabilities.” (American Psychiatric Association 2012.) Although

this assertion may have been intended to address discrimination against those with

gender diverse identities, it was not based on data. The statement followed the then

well-known 2011 publication by Dhejne et al. that demonstrated the array of medical,
social, and psychiatric problems that the entire 30-year cohort of post-surgery

Swedish transgendered persons experienced. Over the next decade, many studies and

editorials, including by some advocating for medical and surgical treatments, pointed

out that the adult lives of trans persons have worse outcomes compared to

cisgendered populations along numerous mental health, physical health, mortality,

and social lines. (Liu et al. 2022 at 295; Liszewski et al. 2018 at 2391–92; Kozlowska

et al 2021 at 4.; Jackson et al. 2023 at 4.) The array of problems suffered by this group

contradicts the American Psychiatric Association’s 2012 declaration of no associated
impairments.
                                           25
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 31 of 144




      59.    Similarly, many American health associations such as the American

Psychiatric Association, American Medical Association, American College of

Physicians, American Academy of Pediatrics, and American Psychoanalytic

Association, have supported trans medical and surgical care on the basis of inclusion

and non-discrimination. We expect all health institutions to welcome all people,

regardless of their demographic characteristics, to their facilities.

      60.    But the evidence does not support the case for medical intervention to

treat gender dysphoria. In the previous three years, we have learned much about the

unexplained incidence of gender dysphoria among young people, the increasing

visibility of detransitioners, higher suicide rates of adult trans persons, the large

numbers of females 17 and younger who have undergone mastectomies to

masculinize their chests, and the limitations of the science underpinning

recommendations. (Biggs 2022b, Levine et al. 2022a; Abbruzzese et al. 2023; Levine

& Abbruzzese 2023.) An instructive example can be seen in the 2018 American

Academy of Pediatrics’ recommendation for socially transitioning children and

providing hormones to early teenagers. (Rafferty et al. 2018 at 10.) Five years later

the same institution no longer was certain this was the best first approach to

managing trans identities in children and adolescents. Infra ¶ 82. Additionally, a
number of European countries now recommend providing trans-identifying youth

with individual and family psychotherapeutic interventions rather than assuming a

trans identity is a fixed, biologically caused state that must be embraced as a pathway

to an aproblematic adult life. Infra Section IV.F.

      B.     Opinions and practices vary widely about the utilization of
             social transition for children and adolescents.
      61.    The World Professional Association for Transgender Health (WPATH)

has published a guidance document under the title “Standards of Care.” Below, I will
provide some explanation of WPATH and its “Standards of Care,” which are not the

                                           26
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 32 of 144




product of a strictly scientific organization, and they are by no means accepted by all

or even most practitioners as setting out best practices.

      62.    Here, however, I will note that WPATH does not take a position

concerning whether or when social transition may be appropriate for pre-pubertal

children. Instead, the WPATH “Standards of Care version 7” states that the question

of social transition for children is a “controversial issue” and calls for mental health

professionals to support families in what it describes as “difficult decisions”

concerning social transition. Its version 8, however, avoids the word “controversial”

even though it discusses the dangers of harms versus the possibility of benefits of

early transition. (Coleman et al. 2022 at S577–78.)

      63.    Dr. Erica Anderson is a prominent practitioner in this area who

identifies as a transgender woman, who was the first transgender president of

USPATH, and who is a former board member of WPATH. Dr. Anderson recently

resigned from those organizations and has condemned automatic approval of

transition upon the request of a child or adolescent, noting that “adolescents . . . are

notoriously susceptible to peer influence,” that transition “doesn’t cure depression,

doesn’t cure anxiety disorders, doesn’t cure autism-spectrum disorder, doesn’t cure

ADHD,” and instead that “a comprehensive biopsychosocial evaluation” should
precede allowing a child to transition. (Davis 2022.) And as I have explained

previously, my own view based on 50 years of experience in this area favors strong

caution before approving life-altering interventions such as social transition, puberty

blockers, or cross-sex hormones.

      C.     The WPATH “Standards of Care” is not an impartial or
             evidence-based document.
      64.    Because WPATH is frequently cited by advocates of social, hormonal,

and surgical transition, I provide some context concerning that private organization
and its “Standards of Care.” WPATH insists its guidance is evidence-based. But its

                                          27
           Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 33 of 144




reviews of the evidence strikingly omit evidence to the contrary. This renders it

unbalanced or biased and not in keeping with the traditions of respected clinical

science.

      65.      I was a member of the Harry Benjamin International Gender Dysphoria

Association from 1974 until 2001. From 1997 through 1998, I served as the Chairman

of the eight-person International Standards of Care Committee that issued the fifth

version of the Standards of Care. I resigned my membership in 2002 due to my

regretful conclusion that the organization and its recommendations had become

dominated by politics and ideology, rather than by scientific process, as it was years

earlier. In approximately 2007, the Harry Benjamin International Gender Dysphoria

Association changed its name to the World Professional Association for Transgender

Health (WPATH).

      66.      WPATH is a voluntary membership organization. Since at least 2002,

attendance at its biennial meetings has been open to trans-identifying individuals

who are not licensed professionals. While this ensures taking patients’ needs into

consideration, it limits the ability for honest and scientific debate, for scientifically

based policy, and means that WPATH can no longer be considered a purely

professional organization. Its associate members are not health care professionals.
The professional members have various medical specialties, various mental health

degrees, and varying experience and approaches to caring for these patients. They

share, however, the position that an affirmative care paradigm is the only effective

treatment approach.

      67.      WPATH takes a decided view on issues as to which there is a wide range

of opinion among professionals. WPATH explicitly views itself as not merely a

scientific organization, but also as an advocacy organization. (Levine 2016 at 240.)

WPATH is supportive to those who want sex reassignment surgery (“SRS”).
Skepticism as to the benefits of SRS to patients, and strong alternate views, are not
                                           28
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 34 of 144




well tolerated in discussions within the organization or their educational outreach

programs. Such views have been known to be shouted down and effectively silenced

by the large numbers of nonprofessional adults who attend the organization’s

biennial meetings. Two groups of individuals that I regularly work with have

attended recent and separate WPATH continuing education sessions. There,

questions about alternative approaches were quickly dismissed with “There are none.

This is how it is done.” Such a response does not accurately reflect what is known,

what is unknown, and the diversity of clinical approaches in this complex field.

      68.    The reviews of WPATH’s 7th edition of standards of care published in

2021 by Dahlen et al. and Sapir in 2022 have clarified the low quality, low reliability,

and bias inherent in its recommendations. (Dahlen et al. 2021 at 1, 7–8.) Its 8th

edition, which is three times the length of the 7th, has not gained additional

confidence in its scientific merit. The Standards of Care (“SOC”) document does not

balance the benefits and risks of its recommendations and is not politically neutral.

WPATH aspires to be both a scientific organization and an advocacy group for the

transgendered. It articulates policy. These aspirations sometimes conflict. The

limitations of the Standards of Care, however, are not at their root political. They are

caused by the lack of rigorous research in the field, which allows room for passionate
convictions on how to care for the transgendered. And, of course, once individuals

have socially, medically, and surgically transitioned, WPATH members and the

trans-identifying people themselves at the meetings are committed to supporting

others in their transitions. Not only have some trans participants been distrustful or

hostile to those who question the wisdom of these interventions, their presence makes

it difficult for professionals to raise their concerns. Vocal trans rights advocates have

a worrisome track record of attacking those who have alternative views. (See, e.g.,

Dreger 2015; McNamarra et al. 2022 at 1919.)


                                           29
          Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 35 of 144




      69.     In recent years, WPATH has fully adopted some mix of the medical and

civil rights paradigms. It has downgraded the role of counseling or psychotherapy as

a requirement for these life-changing processes. WPATH no longer considers

preoperative psychotherapy to be a requirement. It is important to WPATH that the

person has gender dysphoria; but the pathway to the development of this state is not.

(Levine 2016 at 240.) The trans-identifying person is assumed to have thoughtfully

considered his or her options before seeking hormones. That assumption cannot be

justified in persons as young as age 11.

      70.     Most psychiatrists and psychologists who treat patients suffering

distress from gender dysphoria sufficiently severe to seek inpatient psychiatric care

are not members of WPATH. Many psychiatrists, psychologists, and pediatricians

who treat some patients suffering gender dysphoria on an outpatient basis are not

members of WPATH. WPATH represents a self-selected subset of the profession along

with its many non-professional members; it does not capture the clinical experiences

of others. WPATH claims to speak for the medical profession; however, it does not

welcome skepticism and therefore, deviates from the philosophical core of medical

science. There are pediatricians, psychiatrists, endocrinologists, and surgeons who

object strongly, on professional grounds, to transitioning children and providing
affirmation in a transgender identity as the first treatment option. WPATH does not

speak for all of the medical profession.

      71.     In 2010 the WPATH Board of Directors issued a statement advocating

that incongruence between sex and felt gender identity should cease to be identified

in the DSM as a pathology.3 This position was debated but not adopted by the (much




      3
        WPATH De-Psychopathologisation Statement (May 26, 2010), available at
https://wpath.org/policies (last accessed September 9, 2023).

                                           30
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 36 of 144




larger) American Psychiatric Association, which maintained the definitions and

diagnoses of gender dysphoria as a pathology in the DSM-5 manual issued in 2013.

       72.   In my experience some current members of WPATH have little ongoing

experience with the mentally ill, and many trans care facilities are staffed by MHPs

who are not deeply experienced with recognizing and treating frequently associated

psychiatric co-morbidities. Further, being a mental health professional, per se, does

not guarantee experience and skill in recognizing and effectively intervening in

serious or subtle patterns. Because the 7th version of the WPATH SOC deleted the

requirement for therapy, trans care facilities that consider these standards sufficient

are permitting patients to be counseled to transition by means of social presentation,

hormones, and surgery by individuals with masters rather than medical degrees. The

8th version of the SOC continues this tradition. When this document recommends a

comprehensive psychiatric evaluation, it fails to elaborate its duration, the topics to

be covered, and necessary treatment results of the commonly found previous and co-

current psychiatric conditions. It emphasizes the evaluation; it does not emphasize

what to do with the identified problems, other than to state that they must be under

reasonable control. WPATH prioritizes the treatment of gender incongruence over

the frequently encountered states of depression, anxiety, social and school avoidance,
etc.

       D.    Opinions and practices differ widely with respect to the proper
             role of psychological counseling before, as part of, or after a
             diagnosis of gender dysphoria
       73.   In version 7 of its Standards of Care, released in 2012, WPATH

downgraded the role of counseling or psychotherapy, and the organization no longer

sees psychotherapy without transition and hormonal interventions as a potential

path to eliminate gender dysphoria by enabling a patient to return to or achieve

comfort with the gender identity aligned with his or her biology. Around the world,
many prominent voices and practitioners disagree. For example, renowned gender
                                          31
          Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 37 of 144




therapists Dr. Laura Edwards-Leeper and Dr. Erica Anderson (who, as mentioned

above, identifies as a transgender woman) have spoken out arguing that children and

adolescents are being subjected to puberty blockers and hormonal intervention far

too quickly, when careful and extended psychotherapy and investigation for potential

causes of feelings of dysphoria (such as prior sexual abuse) should be the first port of

call and might resolve the dysphoria. (Edwards-Leeper & Anderson 2021; Davis

2022.)

         74.   In a recently published position statement on gender dysphoria, the

Royal Australian and New Zealand College of Psychiatrists emphasized the critical

nature of mental health treatment for gender dysphoric minors, stressing “the

importance of the psychiatrist’s role to undertake thorough assessment and evidence-

based treatment ideally as part of a multidisciplinary team, especially highlighting

co-existing issues which may need addressing and treating.” The Royal College also

emphasized the importance of assessing the “psychological state and context in which

Gender Dysphoria has arisen,” before any treatment decisions are made. (RANZCP

2021.)

         75.   Dr. Paul Hruz of the University of Washington St. Louis Medical School

has noted, “The WPATH has rejected psychological counseling as a viable means to
address sex–gender discordance with the claim that this approach has been proven

to be unsuccessful and is harmful. (Coleman et al. 2012.) Yet the evidence cited to

support this assertion, mostly from case reports published over forty years ago,

includes data showing patients who benefited from this approach (Cohen-Kettenis

and Kuiper 1984).” (Hruz, 2020.)

         76.   In several recent publications, my colleagues and I have demonstrated

that both the Endocrine Society’s and WPATH’s citations for the scientific basis of

affirmative care of adolescents reference the same two Dutch studies. We have
demonstrated in considerable detail the limitations of these studies, their lack of
                                          32
          Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 38 of 144




applicability to today’s transgendered youth, and the dangers of following therapeutic

fashion rather than evidence-based medicine. (Levine et al. 2022b; Abbruzzese et al.

2023.)

         E.    Opinions and practices vary widely with respect to the
               administration of puberty blockers and cross-sex hormones.
         77.   There is likewise no broadly accepted standard of care with respect to

use of puberty blockers. WPATH Standards of Care version 7 explicitly recognized

the lack of any consensus on this important point, stating: “Among adolescents who

are referred to gender identity clinics, the number considered eligible for early

medical treatment—starting with GnRH analogues to suppress puberty in the first

Tanner stages—differs among countries and centers. Not all clinics offer puberty

suppression . . . The percentages of treated adolescents are likely influenced by the

organization of health care, insurance aspects, cultural differences, opinions of health

professionals, and diagnostic procedures offered in different settings.” (Coleman et al.

2012 at 13.) Notably, the recent version 8 of the WPATH “Standards of Care” does

not include this language. (Coleman et al. 2022.)

         78.   The use of puberty blockers as a therapeutic intervention for gender

dysphoria is often justified by reference to the seminal work of a respected Dutch

research team that developed a protocol that administered puberty blockers to
children no younger than age 14. However, it is well known that many clinics in North

America now administer puberty blockers to children at much younger ages than the

“Dutch Protocol” allows. (Zucker 2019.) The Dutch protocol only treated children with

these characteristics: a stable cross gender identity from early childhood; dysphoria

that worsened with the onset of puberty; were otherwise psychologically healthy; had

healthy families; the patient and family agreed to individual and family counselling

throughout the protocol. But the experience and results of the Dutch model is being



                                          33
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 39 of 144




used as a justification for giving puberty blockers to children who differ considerably

from these criteria. Its authors have noted this fact. (de Vries 2020.)

       79.    However, Zucker notes that “it is well known” that clinicians are

administering cross-sex hormones, and approving surgery, at ages lower than the

minimum age thresholds set by that “Dutch Protocol.” (Zucker 2019 at 5.)

       80.    Internationally, there has been a recent marked trend against use of

puberty blockers, as a result of extensive evidence reviews by national medical bodies,

which I discuss later. (See Section IV.F below.)

       81.    In this country, some voices in the field are now publicly arguing that

no comprehensive mental health assessment at all should be required before putting

teens on puberty blockers or cross-sex hormones (Ghorayshi 2022), while Dr.

Anderson and Dr. Edwards-Leeper argue that U.S. practitioners are already moving

too quickly to hormonal interventions. (Edwards-Leeper & Anderson 2021; Davis

2022.) It is evident that opinions and practices are all over the map.

       82.    In 2018, the subcommittee on sexual minority youth of the American

Academy of Pediatricians issued a policy statement supporting administration of

puberty blockers to children diagnosed with gender dysphoria. No other American

medical association has endorsed the use of puberty blockers. Pediatricians are
neither endocrinologists nor psychiatrists. Dr. James Cantor published a peer-

reviewed paper detailing that the Academy’s statement was not evidence-based and

misdescribed the few scientific sources it did reference. (Cantor 2019.) It has been

well noted in the field that the AAP has declined invitations to publish any rebuttal

to Dr. Cantor’s analysis. But this is all part of ongoing debate, simply highlighting

the absence of any generally agreed standard of care. In 2022, the same committee of

the AAP modified its recommendation supporting alternative treatments but still

held out that affirmative care is still a viable option. Evidence after all is required for
policy decisions and the 2018 evidence base is now widely appreciated as
                                            34
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 40 of 144




insubstantial. In August 2023, the AAP acknowledged the need for a systematic

evidence review and commissioned one, while retaining the slight modification noted

above. Dr. Gordon Guyatt of McMaster University, and author of the Grade system,

explained that the decision to promulgate and then retain a policy prior to the

completion of a systematic review is “very clearly putting the cart before the horse.”

(Ghorayshi, 2023.)

      83.    The 2017 Endocrine Society Guidelines themselves expressly state that

they are not “standards of care.” The document states: “The guidelines cannot

guarantee any specific outcome, nor do they establish a standard of care. The

guidelines are not intended to dictate the treatment of a particular patient.”

(Hembree et al. 2017 at 3895 (emphasis added).) Nor do the Guidelines claim to be

the result of a rigorous scientific process. Rather, they expressly advise that their

recommendations concerning use of puberty blockers are based only on “low quality”

evidence.

      84.    The 2017 Guidelines assert that patients with gender dysphoria

“require a safe and effective hormone regimen . . . .” Notably, however, the Guidelines

do not make any firm statement that use of puberty blockers for this purpose is safe,

and the Guidelines go no further than “suggest[ing]” use of puberty blockers—
language the Guidelines warn represents only a “weak recommendation.” (Hembree

2017 at 3871, 3872.) Several authors have pointed out that not only were the

Endocrine Society suggestions regarding use of puberty blockers reached on the basis

of “low quality” evidence, but any suggestion of ‘safety’ or ‘efficacy’ would be starkly

contradicted by several in-depth evidence reviews. (Laidlaw et al. 2019; Malone et al.

2021.) The most recent systematic independent reviews of hormonal treatment of

adolescents reaffirmed the poor quality of evidence making their use questionable

(Brignardello-Petersen & Wiercioch 2022; Ludvigsson et al. 2023.) I detail these
contradictory findings in more detail in Sections IV.F and VIII below.
                                          35
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 41 of 144




       85.   While there is too little meaningful clinical data and no consensus

concerning best practices or a “standard of care” in this area, there are long-standing

ethical principles that do or should bind all medical and mental health professionals

as they work with, counsel, and prescribe for these individuals. (Levine et al. 2022a.)

       86.   One of the oldest and most fundamental principles guiding medical and

psychological care—part of the Hippocratic Oath—is that the physician must “do no

harm.” This states an ethical responsibility that cannot be delegated to the patient.

Physicians themselves must weigh the risks of treatment against the harm of not

treating. If the risks of treatment outweigh the benefits, principles of medical ethics

prohibit the treatment even if the patient desires it.

       F.    European health authorities recognize that medical transition
             is unproven, experimental and dangerously uncertain.
       87.   On April 17, 2023, a systemic review of the hormonal treatment for

children with gender dysphoria was published by an eight-person team of scientists

with    appointments     in    various    departments:     epidemiology,     pediatrics,

gastroenterology, health technology, clinical science, women’s and children’s health,

psychiatry and neurochemistry, and neuroscience and physiology. (Ludvigsson et al.

2023.) The diverse backgrounds of reviewers free the committee from the bias of those

who deliver the care. It is recognized as an ideal composition of professionals for this
purpose. It is known that this report was one of the bases for Sweden’s new national

health policy, which makes psychotherapy (instead of hormonal treatment) the initial

treatment approach for transgender-identified children and adolescents. Sweden now

allows hormonal treatment to be offered to minors under the age of 16 only in

research protocols. The article contains five tables, the last of which describes how

future research should be conducted and reported. This table indirectly demonstrates

the profound methodological problems with the current studies and gives guidance to



                                          36
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 42 of 144




the Karolinska Institute in Stockholm, at which future adolescents may be enrolled

in research protocols.

      88.    This project assessed psychosocial effects, bone health, body composition

and metabolisms, and therapy persistence in children less than age 18 years of age

who were treated with puberty blockers. The study initially identified 9,934 English

language articles on the topic, but as is usual for such processes, selected 24 studies

from 2014 onward for intense scrutiny. The GRADE system, which provides four

levels of evidence (very low, low, moderate, high), was used to analyze the 24 studies.

Puberty blockers (PB) were typically administered to patients between 11- and 15-

years-old, but the actual age range spanned from 9 to 18.6 years.

      89.    Six studies focused on psychosocial and mental health parameters and

found the benefits to be uncertain. Global function was evaluated for 113 patients,

but the certainty of the evidence “[could not] be assessed.” When suicidal ideation was

evaluated for 28 patients, there was no change noted and the certainty of evidence

“[could not] be assessed.” Similar conclusions about the certainty of the evidence were

made when assessing gender dysphoria, depression, anxiety, cognition, and quality

of life. Each of the six studies was downgraded because of selection bias, lack of

precision in measurement, absence of long-term follow-up, and inability to separate
effects of the hormone from psychotherapeutic effects. One study of 20 patients on

cognitive effects found no differences between the treated and untreated patients but

had no pre- and post-treatment measurements. This missing method could have

shown the variable effects from patient to patient—positive, negative, or no change.

Mean data obscures this important information. (Ludvigsson et al. 2023.)

      90.    The evidence on bone density, based on six longitudinal studies, only one

of which was prospective, was graded “low certainty.” Three studies found that before

the start of PBs, bone density was lower than age mates. Bone mineralization
increased less than age mate controls while on PBs, but the absolute density
                                          37
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 43 of 144




remained unchanged after two to three years. Even after five-plus years of cross sex

hormones, the lumbar spine scores were significantly lower than before PBs were

started, while other volume and femoral neck scores had normalized. A separate

study of female to males on testosterone for 1–2 years failed to regain scores

registered at the start of PBs.

      91.    Puberty blockers arrest the puberty growth spurt and lead to increased

fat mass and decreased lean body mass.

      92.    Obesity at age 22 was more prevalent in the transgender populations.

      93.    From the abstract review of almost 10,000 studies, no randomized

controlled studies were identified. In general, the 24 identified studies lacked control

groups and intra-individual analyses, had high attrition rates (lost to follow-up or

missing data), and failed to assess long term outcomes. No data were presented that

dealt with those who stopped PBs. The authors noted that their conclusions were

consistent with the UK systemic review. The Swedish review concluded that the

effects on psychosocial and somatic health are “unknown.” (Ludvigsson et al. 2023.)

      94.    Like Sweden, Finland has also reversed course, issuing new guidelines

that allow puberty blockers only on a case-by-case basis after an extensive psychiatric

assessment. (COHERE 2020.) Finland’s reversal came after its own systematic
review, which concluded that the methodological quality of studies underlying

gender-affirming medical interventions was “weak.” (Pasternack et al. 2019; Kaltiala

et al. 2020.) Finnish public health authorities concluded “In light of available

evidence, gender reassignment of minors is an experimental practice.” (COHERE

2020.) Norway health authorities have also concluded that medical transition

procedures in minors is experimental. (Ukom 2023.)

      95.    A landmark legal challenge against the UK’s National Health Service in

2020 by “detransitioner” Keira Bell led to the suspension of the use of puberty
blockers and new procedures to ensure better psychological care, as well as prompting
                                          38
          Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 44 of 144




a thorough evidence review by the National Institute for Health and Care Excellence.

(NICE 2020a; NICE 2020b.)4 That review in 2022 reorganized trans adolescent care

throughout the UK and emphasized the need to focus on the patients’ psychological

state rather than treating the gender incongruence first. Puberty blockers are not to

be initially employed. (Cass 2022 at 72.)

      96.     In June 2023, the UK’s National Health Service issued an Interim

Service Specification confirming that it will not prescribe puberty blockers outside of

formal research. (NHS England 2023a at 12–13.) The Interim Service Specification

further states that the primary intervention for children and adolescents with gender

dysphoria is psychological support. (NHS England 2023b at § 5.)

      97.     Given these and similar findings from other systemic reviews free from

commercial bias, such as those from McMasters University (Brignardello-Petersen &

Wiercioch 2022) and Cochrane (Haupt et al. 2020), it is my opinion that the terms

“experimental,” “unproven,” and “dangerously uncertain” are justified when

considering the absence of long-term follow up data and the deficiencies within the

current literature. Systemic data reviews are scientifically more reliable than

individual reports with definable methodologic limitations. Without quoting

extensively from the reviews done by Sweden, Finland, UK, and McMasters
University, suffice it to say that their conclusions agree that the risks of puberty

suppression and cross-sex hormones outweigh the possible benefits. They also point

to the great unexplained increase in incidence of gender dysphoria, the increased

incidence of detransition and regret, and the lack of evidence of efficacy. (Swedish

National Board of Health and Welfare 2022 at 3–4.)




      4
       The decision requiring court approval for administration of hormones to any
person younger than age 16 was later reversed on procedural grounds by the Court
of Appeal and is currently under consideration by the UK Supreme Court.

                                            39
          Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 45 of 144




         98.    In light of the findings in this Section, it is of interest why these

European countries undertook scientific reviews. European countries, knowing about

the experiment the Dutch gender clinic was conducting, quickly and uncritically

adopted their methods. When the Dutch published their two outcome studies (de

Vries et al. 2011; de Vries et al. 2014), the pace of hormonal and surgical interventions

increased. However, many European clinicians were not seeing the positive outcomes

the Dutch had described, clinics were overwhelmed by the numbers of new requests

for services and promises to provide follow up studies were not kept. Health

authorities in the UK and Scandinavian countries became alarmed and

commissioned objective appraisals.

         99.    Given the considerable risk of harms, which include premature death

(Jackson et al. 2023; Erlangsen et al. 2023), and the other problems discussed in this

declaration, minors cannot provide well-informed consent for gender-affirming

medical interventions. With their life experiences being limited and brain

development being years from completion, parents are legally required to provide

consent and the minor only assents. But parents cannot be expected to understand

the limitations of the science pointed out by these European systemic reviews,

particularly when American affirmative care clinicians and institutions that support
gender-affirming care fail to understand the limitations of science in this politicized

arena.

         100.   When the frequently encountered psychiatric co-morbidities of trans-

identifying youth are taken into consideration—autism, depression, social avoidance,

anxiety states, eating disorders, suicidality, and self-harming patterns—it become

clear that a young person lacks the capacity to think through the momentousness of

the decision to receive gender-affirming medical interventions. We might expect U.S.

physicians, who know the nature of scientific uncertainty, to be concerned with this


                                           40
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 46 of 144




haunting question of decision-making capacity, as have the Europeans. (Vrouenraets

et al. 2020.)

V.     TRANSGENDER IDENTITY IS NOT BIOLOGICALLY BASED.
       101.     There is no medical consensus that transgender identity has any

biological basis. Furthermore, there is considerable well-documented evidence that is

inconsistent with the hypothesis of a biological basis for gender identity—at least in

the large majority of currently-presenting patients.

       A.       No theory of biological basis has been scientifically validated.
       102.     At the outset, the attempt to identify a single, biological cause for

psychiatric conditions (including gender dysphoria) has been strongly criticized as

“out of step with the rest of medicine” and as a lingering “ghost” of an understanding

of the nature of psychiatric conditions that is now broadly disproven. (Kendler 2019

at 1088–1089.) Gender dysphoria is defined and diagnosed only as a psychiatric, not

a medical, condition. Courts need to have clarified that just because some physicians

use medication and surgery to treat gender dysphoria does not make it a “medical

condition” or that the psychological identity has been determined by a biological

mechanism.

       103.     While some have pointed to very small brain scan studies as evidence of
a biological basis, no studies of brain structure of individuals identifying as

transgender have found any statistically significant correlation between any distinct

structure or pattern and transgender identification, after controlling for sexual

orientation and exposure to exogenous hormones. (Saraswat et al. 2015 at 202;

Frigerio et al. 2021 at 3345.) High quality scientific studies end with a limitations

section. Therein authors recognize the need for caution in interpreting the

preliminary findings and urge the next research steps. When authors declare that a
trans identity is created by neuroanatomic structures that have always been present,


                                           41
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 47 of 144




they seem to be ignoring the caution that the original researchers have emphasized.

Science repeatedly emphasizes that correlation does not equate to causation.

      104.   Indeed, the Endocrine Society 2017 Guidelines recognizes: “With

current knowledge, we cannot predict the psychosexual outcome for any specific

child,” and “there are currently no criteria to identify the GD/gender-incongruent

children” who may benefit from social transition. “At the present time, clinical

experience suggests that persistence of GD/gender incongruence can only be reliably

assessed after the first signs of puberty.” (Hembree et al. 2017 at 3876, 3879.) Based

on the increasing numbers of adolescents who were assessed after puberty began, it

is clear that even when a child has severe distress over his or her periods, breast,

penile growth and erections, there is no guarantee of persistence. Detransitioners

represent the uncertainty of pediatric decisions to medically treat distressed

adolescents first with hormones.

      105.   In short, no biological test or measurement has been identified that

provides any ability to predict which children will exhibit, and which children will

persist in, gender dysphoria or a transgender identification. Unless and until such a

test is identified, the theory of a biological basis is a hypothesis still searching for

support.

      B.     Large changes across time and geography in the epidemiology
             of transgender identification are inconsistent with the
             hypothesis of a biological basis for transgender identity.
      106.   In fact, there is substantial evidence that the “biological basis” theory is

incorrect, at least with respect to the large majority of patients presenting with

gender dysphoria today.

      107.   Vast changes in incidence: Historically, there were very low reported

rates of gender dysphoria or transgender identification. In 2013, the DSM-5

estimated the incidence of gender dysphoria in adults to be at 2–14 per 100,000, or
between 0.002% and 0.014%. (DSM-5 at 454.) Recently, however, these numbers have
                                          42
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 48 of 144




increased dramatically, particularly in adolescent populations. Recent surveys

estimate that between 2–9% of high school students self-identify as transgender or

“gender non-conforming.” with a significantly large increase in adolescents claiming

“nonbinary” gender identity as well. (Johns et al. 2019; Kidd et al. 2021.) Consistent

with these surveys, gender clinics around the world have seen numbers of referrals

increase rapidly in the last decade, with the Tavistock clinic in London seeing a 30-

fold increase in the last decade (GIDS 2019), and similar increases being observed in

Finland (Kaltiala-Heino et al. 2018), the Netherlands (de Vries 2020), and Canada

(Zucker 2019). The rapid change in the number of individuals experiencing gender

dysphoria points to social and cultural, not biological, causes.

      108.   Large change in sex ratio: In recent years there has been a marked

shift in the sex ratio of patients presenting with gender dysphoria or transgender

identification. The Tavistock clinic in London saw a ratio of 4 biological females(F):5

biological males(M) shift to essentially 11F:4M in a decade. (GIDS 2019.) One

researcher summarizing multiple sources documented a swing of 1F:2M or 1F:1.4M

through 2005 to 2F:1M generally (but as high as 7F:1M) in more recent samples.

(Zucker 2019 at 2.) This phenomenon has been noted by Dr. Erica Anderson, who

said: “The data are very clear that adolescent girls are coming to gender clinics in
greater proportion than adolescent boys. And this is a change in the last couple of

years. And it’s an open question: What do we make of that? We don’t really know

what’s going on. And we should be concerned about it.” (Davis 2022.) Again, this large

and rapid change in who is experiencing gender dysphoria points to social, not

biological, causes.

      109.   Clustering: Dr. Littman’s 2018 study documented “clustering” of new

presentations of gender dysphoria among natal females in specific schools and among

specific friend groups. This again points strongly to social causes for gender dysphoria
at least among the adolescent female population. (Littman 2018.) It is increasingly
                                          43
          Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 49 of 144




rare to have only one adolescent identifying as transgender in large junior or senior

high schools.

      110.      Desistance: As I discuss later, there are very high levels of desistance

among children diagnosed with gender dysphoria, as well as increasing (or at least

increasingly vocal) numbers of individuals who first asserted a transgender identity

during or after adolescence, underwent substantial medical interventions to “affirm”

that trans-identity, and then “desisted” and reverted to a gender identity congruent

with their sex. (See Section VI.B below.) These narratives, too, point to a social and/or

psychological cause, rather than a biological one.

      111.      “Fluid” gender identification: Advocates and some practitioners

assert that gender identity is not binary but can span an almost endless range of

gender identity self-labels, which a given individual may try on, inhabit, and often

discard. (A recent article identifies 72.5) I have not heard any theory offered for how

there is or could be a biological basis for gender identity as now expansively defined.

      112.      I frequently read attempts to explain away the points in this Section VI.

They include: these problems always existed, but children are now learning that there

are effective treatments for their dilemma and are simply seeking them. And children

have hidden their trans identity throughout childhood and now that trans-identifying
people are recognized and accepted, they are presenting themselves. And now

pediatricians realize that girls can have gender dysphoria and are referring them to

gender clinics. But these are all mere hypotheses unsupported by concrete evidence.

One set of unproven hypotheses cannot provide support for the unproven hypothesis

of biological basis. And none of these hypotheses could even potentially explain the

failure of science thus far to identify any predictive biological marker of transgender



      5
        Allarakha, What Are the 72 Other Genders?, MedicineNet, available at:
https://www.medicinenet.com/what_are_the_72_other_genders/article.htm.

                                            44
          Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 50 of 144




identification. There is much sociological evidence that in the last decade, increasing

numbers of adolescents do not identify as the gender consistent with their sex.

Biological phenomena do not evolve suddenly.

      113.    Therapies affect gender identity outcomes: Finally, the evidence shows

that therapeutic choices can have a powerful effect on whether and how gender

identity does change, or gender dysphoria desists. Social transition of juveniles, for

instance, strongly influences gender identity outcomes to such an extent that it has

been described a “unique predictor of persistence.” (Singh et al. 2021 at 14. See

Section VII.B below.) Again, this observation cuts against the hypothesis of biological

origin.

      C.      Disorders of sexual development (or DSDs) and gender identity
              are very different phenomena, and it is an error to conflate the
              two.
      114.    Some have pointed to individuals who suffer from disorders of sexual

development (DSDs) as evidence that sex is not binary or clearly defined, or as

somehow supporting the idea that transgender identification has a biological basis. I

have extensively detailed that sex is clear, binary, and determined at conception.

(Section III.A.) Here I explain that gender dysphoria is an entirely different

phenomenon than DSDs—which unlike transgender identity are indeed biological
phenomena. It is an error to conflate the two distinct concepts.

      115.    Every DSD reflects a genetic enzymatic defect with negative anatomic

and physiological consequences. As the Endocrine Society recognized in a 2021

statement: “Given the complexities of the biology of sexual determination and

differentiation, it is not surprising that there are dozens of examples of variations or

errors in these pathways associated with genetic mutations that are now well known

to endocrinologists and geneticists; in medicine, these situations are generally termed

disorders of sexual development (DSD) or differences in sexual development.” Gender


                                          45
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 51 of 144




Identity on the other hand is consistently defined as a subjective sense of being, a

feeling or state of mind. (Section III.A.)

      116.   The vast majority of those who experience gender dysphoria, or a

transgender identity, do not suffer from any DSD, nor from any genetic enzymatic

disorder at all. Conversely, many who suffer from a DSD do not experience a gender

identity different from their chromosomal sex (although some may). In short, those

who suffer from gender dysphoria are not a subset of those who suffer from a DSD,

nor are those who suffer from a DSD a subset of those who suffer from gender

dysphoria. The two are simply different phenomena, one physical with psychological

effects, the other mental with physical effects only if treated medically or surgically.

The issue here is not whether biological forces play a role in personality development;

it is whether there is strong evidence that it is determinative. Science has come too

far to revert to single explanations for gender dysphoria or any psychiatric diagnosis.

      117.   The importance of this distinction is evident from the scientific

literature. For example, in a recent study of clinical outcomes for gender dysphoric

patients, Tavistock Clinic researchers excluded from their analysis any patients who

did not have “normal endocrine function and karyotype consistent with birth

registered sex.” (Carmichael et al. 2021 at 4.) In other words, the researchers
specifically excluded from their study anyone who suffered from genetic-based DSD,

or a DSD comprising any serious defect in hormonal use pathways, to ensure the

study was focused only on individuals experiencing the psychological effects of what

we might call “ordinary” gender dysphoria.




                                             46
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 52 of 144



      D.     Studies of individuals born with DSDs suggest that there may
             be a biological predisposition towards typical gender
             identifications, but they provide no support for a biological
             basis for transgender identification.
      118.   Studies of individuals born with serious DSDs have been pointed to as

evidence of a biological basis for transgender identification. They provide no such

support.

      119.   One well-known study by Meyer-Bahlburg reviewed the case histories

of a number of XY (i.e., biologically male) individuals born with severe DSDs who

were surgically “feminized” in infancy and raised as girls. (Meyer-Bahlburg 2005.)

The majority of these individuals nevertheless later adopted male gender identity—

suggesting a strong biological predisposition towards identification aligned with

genetic sex, even in the face of feminized genitalia from earliest childhood, and

parental “affirmation” in a transgender identity. But at the same time, the fact that

some of these genetically male individuals did not later adopt male gender identity

serves as evidence that medical and social influences can indeed encourage and

sustain transgender identification.

      120.   Importantly, the Meyer-Bahlburg study did not include any individuals

who were assigned a gender identity congruent with their genetic sex who

subsequently adopted a transgender identity. Therefore, the study can provide no
evidence of any kind that supports the hypothesis of a biological basis for transgender

identity. A second study in this area (Reiner & Gearhart 2004) likewise considered

exclusively XY subjects, and similarly provides evidence only for a biological bias

towards a gender identity congruent with one’s genetic sex, even in the face of medical

and social “transition” interventions. None of this provides any evidence at all of a

biological basis for transgender identity.




                                             47
           Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 53 of 144



VI.    GENDER IDENTITY IS EMPIRICALLY NOT FIXED FOR MANY
       INDIVIDUALS.
       121.     There is extensive evidence that gender identity changes over time for

many individuals.6 That evidence is summarized below.

       A.       Most children who experience gender dysphoria ultimately
                “desist” and resolve to cisgender identification.
       122.     A distinctive and critical characteristic of juvenile gender dysphoria is

that multiple studies from separate groups and at different times have reported that

in the large majority of patients, absent a substantial intervention such as social

transition or puberty blocking hormone therapy, it does not persist through puberty.

       123.     A 2019 article reviewed all existing follow-up studies that the author

could identify of children diagnosed with gender dysphoria (11 studies) and reported

that “every follow-up study of GD children, without exception, found the same thing:

By puberty, the majority of GD children ceased to want to transition.” (Cantor 2019

at 1.) Another author reviewed the existing studies and reported that in “prepubertal

boys with gender discordance . . . the cross gender wishes usually fade over time and

do not persist into adulthood, with only 2.2% to 11.9% continuing to experience

gender discordance.” (Adelson et al. 2012 at 963; see also Cohen-Kettenis et al. 2008

at 1895.) The Endocrine Society recognized this important baseline fact in its 2017

Guidelines. (Hembree et al. 2017 at 3879.) It should be noted that the reason that the
Dutch Protocol waited until age 14 to initiate puberty blockers was that it was well

known that many children would desist if left free of hormonal intervention until that

age.

       124.     Findings of high levels of desistance among children who experience

gender dysphoria or incongruence have been reaffirmed in the face of critiques

through thorough reanalysis of the underlying data. (Zucker 2018.)



       6
           See supra note 1.

                                            48
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 54 of 144




       125.   As I explained in detail in Section V above, it is not yet known how to

distinguish those children who will desist from that small minority whose trans

identity will persist.

       126.   It does appear that prevailing circumstances during particularly

formative years can have a significant impact on the outcome of a juvenile’s gender

dysphoria. A 2016 study reviewing the follow-up literature noted that “the period

between 10 and 13 years” was “crucial” in that “both persisters and desisters stated

that the changes in their social environment, the anticipated and actual feminization

or masculinization of their bodies, and the first experiences of falling in love and

sexual attraction in this period, contributed to an increase (in the persisters) or

decrease (in the desisters) of their gender related interests, behaviors, and feelings of

gender discomfort.” (Ristori & Steensma 2016 at 16.) In 2022, Olson et al. published

data about the very low rates of desistence five years after social transition of children

between ages of 3 and 12. (Olson et al. 2022.) As I discuss again in Section VII below,

there is considerable evidence that early transition and affirmation causes far more

children to persist in a transgender identity.

       B.     Desistance is increasingly observed among teens and young
              adults who first manifest GD during or after adolescence.
       127.   Desistance within a relatively short period may also be a common
outcome for post-pubertal youths who exhibit recently described “rapid onset gender

disorder.” I have observed an increasingly vocal online community of young women

who have reclaimed a female identity after claiming a male gender identity at some

point during their teen years, and young “detransitioners” (individuals in the process

of reidentifying with their birth sex after having undergone a gender transition) are

now receiving increasing attention in both clinical literature and social media

channels.



                                           49
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 55 of 144




      128.   Almost all scientific articles on this topic have appeared within the last

few years. Perhaps this historic lack of coverage is not entirely surprising—one

academic who undertook an extensive review of the available scientific literature in

2021 noted that the phenomenon was “socially controversial” in that it “poses

significant professional and bioethical challenges for those clinicians working in the

field of gender dysphoria.” (Expósito-Campos 2021 at 270.) This review reported on

the multiple reasons for why individuals were motivated to detransition, which

included coming to “understand[ ] how past trauma, internalized sexism, and other

psychological difficulties influenced the experience of GD.”

      129.   In 2021, Lisa Littman of Brown University conducted a ground-breaking

study of 100 teenage and young adults who had transitioned and lived in a

transgender identity for a number of years, and then “detransitioned” or changed

back to a gender identity matching their sex. Littman noted that the “visibility of

individuals who have detransitioned is new and may be rapidly growing.” (Littman

2021 at 1.) Of the 100 detransitioners included in Littman’s study, 60% reported that

their decision to detransition was motivated (at least in part) by the fact that they

had become more comfortable identifying as their natal sex, and 38% had concluded

that their gender dysphoria was caused by something specific such as trauma, abuse,
or a mental health condition. (Littman 2021 at 9.)

      130.   A significant majority (76%) did not inform their clinicians of their

detransition. (Littman 2021 at 11.)

      131.   A similar study that recruited a sample of 237 detransitioners (the large

majority of whom had initially transitioned in their teens or early twenties) similarly

reported that a common reason for detransitioning was the subject’s conclusion that

his or her gender dysphoria was related to other issues (70% of the sample); 62%

reported that health concerns was the reason; 50% said that transition did not help


                                          50
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 56 of 144




their gender dysphoria; 45% found different ways of coping, and 43% explained that

their political views changed. (Vandenbussche 2021.)

      132.   The existence of increasing numbers of youth or young adult

detransitioners has also been recently noted by Dr. Edwards-Leeper and Dr.

Anderson. (Edwards-Leeper & Anderson 2021.) Edwards-Leeper and Anderson noted

“the rising number of detransitioners that clinicians report seeing (they are forming

support groups online)” which are “typically youth who experienced gender dysphoria

and other complex mental health issues, rushed to medicalize their bodies and

regretted it.” Other clinicians working with detransitioners have also noted the recent

phenomenon. (Marchiano 2021 at 823–25. See also Paragraph 94 above (noting

Swedish recognition of increased incidence of detransition and regret).)

      133.   A growing body of evidence suggests that for many teens and young

adults, a post-pubertal onset of transgender identification can be a transient phase

of identity exploration, rather than a permanent identity, as evidenced by a growing

number of young detransitioners. (Entwistle 2020; Littman 2021; Vandenbussche

2021.) Previously, the rate of detransition and regret was reported to be very low,

although these estimates suffered from significant limitations and were likely

undercounting true regret. (D’Angelo 2018.) As gender-affirmative care has become
popularized, the rate of detransition appears to be accelerating.

      134.   A recent study from a UK adult gender clinic observed that 6.9% of those

treated with gender-affirmative interventions detransitioned within 16 months, and

another 3.4% had a pattern of care suggestive of detransition, yielding a rate of

probable detransition in excess of 10%. Another 21.7%, however, disengaged from the

clinic without completing their treatment plan. While some of these individuals later

re-engaged with the gender service, the authors concluded, “detransitioning might be

more frequent than previously reported.” (Hall et al. 2021.)


                                          51
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 57 of 144




      135.    Another study from a UK primary care practice found that 12.2% of

those who had started hormonal treatments either detransitioned or documented

regret, while the total of 20% stopped the treatments for a wider range of reasons.

The mean age of their presentation with gender dysphoria was 20, and the patients

had been taking gender-affirming hormones for an average 5 years (17 months-10

years) prior to discontinuing. Comparing these much higher rates of treatment

discontinuation and detransition to the significantly lower rates reported by the older

studies, the researchers noted: “Thus, the detransition rate found in this population

is novel and questions may be raised about the phenomenon of overdiagnosis,

overtreatment, or iatrogenic harm as found in other medical fields.” (Boyd et al. 2022

at 15.) Indeed, given that regret may take up to 8-11 years to materialize (Dhejne et

al. 2014; Wiepjes et al. 2018), many more detransitioners are likely to emerge in the

coming years. Detransitioner research is still in its infancy, but the Littman and

Vandenbussche studies in 2021 both report that detransitioners from the recently

transitioning cohorts feel they were rushed into medical gender-affirmative

interventions with irreversible effects, often without the benefit of appropriate, or in

some instances any, psychologic exploration. (Littman 2021; Vandenbusshe 2021.) In

the last two years, two U.S. studies (Roberts et al. 2022 at 3; Cohen et al. 2023) each
demonstrated a 29% drop out rate from hormone administration in four and two

years, respectively. Since continued administration of hormones is necessary to

continue the desired transgendered appearance, these reports suggest substantial

desistance.




                                          52
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 58 of 144



VII.   TRANSITION AND AFFIRMATION ARE IMPORTANT
       PSYCHOLOGICAL AND MEDICAL INTERVENTIONS THAT
       CHANGE GENDER IDENTITY OUTCOMES.

       A.     If both a typical gender or a transgender long-term gender
              identity outcome are possible for a particular patient, the
              alternatives are not medically neutral.
       136.   Where a juvenile experiences gender dysphoria, the gender identity that

is stabilized will have a significant impact on the course of their life. Living in a

transgender identity for a time will make desistance, if it is ever considered, more

difficult to accomplish.

       137.   If the juvenile desists from the gender dysphoria and becomes

reasonably comfortable with a gender identity congruent with their sex—the most

likely outcome from a statistical perspective absent affirming intervention—the child

will not require ongoing pharmaceutical maintenance and will not have their fertility

destroyed post-puberty.

       138.   However, if the juvenile persists in a transgender identity, under

current practices, the child is most likely to require regular administration of

hormones for the rest of their lives, exposing them to significant physical, mental

health, and relational risks (which I detail in Section X below), as well as being

irreversibly sterilized chemically and/or surgically. The child is therefore rendered a

“patient for life” with complex medical implications to further a scientifically
unproven course of treatment.

       B.     Social transition of young children is a powerful
              psychotherapeutic intervention that radically changes
              outcomes, almost eliminating desistance.
       139.   Social transition has a critical effect on the persistence of gender

dysphoria. It is evident from the scientific literature that engaging in therapy that

encourages social transition before or during puberty—which would include

participation on athletic teams, being addressed as a member of a new gender with a
new name and pronouns, and using different bathrooms—designated for the opposite

                                          53
          Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 59 of 144




sex—is a psychotherapeutic intervention that dramatically changes outcomes. A

prominent group of authors has written that “The gender identity affirmed during

puberty appears to predict the gender identity that will persist into adulthood.” (Guss

et al. 2015 at 421.) Similarly, a comparison of recent and older studies suggests that

when an “affirming” methodology is used with children, a substantial proportion of

children who would otherwise have desisted by adolescence—that is, achieved

comfort identifying with their natal sex—instead persist in a transgender identity.

(Zucker 2018 at 7.) Olson’s publication not only affirmed Zucker’s observation but

provided very low rates of retransition or desistence among those socialized before or

after grade school years. (Olson et al. 2022.)

      140.    Indeed, a review of multiple studies of children treated for gender

dysphoria across the last three decades found that early social transition to living as

the opposite sex severely reduces the likelihood that the child will revert to

identifying with the child’s natal sex, at least in the case of boys. That is, while, as I

review above, studies conducted before the widespread use of social transition for

young children reported desistance rates in the range of 80-98%, a more recent study

reported that fewer than 20% of boys who engaged in a partial or complete social

transition before puberty had desisted when surveyed at age 15 or older. (Zucker 2018
at 77; Steensma et al. 2013.8) Another researcher observed that a partial or complete

gender social transition prior to puberty “proved to be a unique predictor of

persistence.” (Singh et al. 2021 at 14.)




      7
        Zucker found social transition by the child to be strongly correlated with
persistence for natal boys, but not for girls. (Zucker 2018 at 5.)
      8
       Only 2 (3.6%) of 56 of the male desisters observed by Steensma et al. had
made a complete or partial transition prior to puberty, and of the twelve males who
made a complete or partial transition prior to puberty, only two had desisted when
surveyed at age 15 or older. (Steensma 2013 at 584.)

                                           54
          Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 60 of 144




      141.    Some vocal practitioners of prompt affirmation and social transition

even proudly claim that essentially no children who come to their clinics exhibiting

gender dysphoria or cross-gender identification desist in that identification and

return to a gender identity consistent with their biological sex.9 This is a very large

change as compared to the desistance rates documented apart from social transition.

      142.    Even voices generally supportive of prompt affirmation and social

transition are acknowledging a causal connection between social transition and this

change in outcomes. As the Endocrine Society recognized in its 2017 Guidelines: “If

children have completely socially transitioned, they may have great difficulty in

returning to the original gender role upon entering puberty. . . [S]ocial transition (in

addition to GD/gender incongruence) has been found to contribute to the likelihood of

persistence.” (Hembree et al. 2017 at 3879.) The fact is that these unproven

interventions with the lives of kids and their families have systematically

documented outcomes. Given this observed phenomenon, I agree with Dr. Ken Zucker

who has written that social transition in children must be considered “a form of

psychosocial treatment.” (Zucker 2020 at 1.)

      143.    The possibility that steps along the transition and affirmation pathway,

while potentially lessening the pain of gender dysphoria in the short term, could lead
to additional crippling emotional and psychological pain in the future, are too often

overlooked by advocates of social transition, and ignored by the trans-identifying

child or adolescent. (Levine 2016 at 243.) Clinicians must distinguish the short-term

effects of hormones from likely or possible long-term consequences and help the

patient and parents understand these implications as well.



      9
         See, e.g., Ehrensaft 2015 at 34: “In my own clinical practice . . . of those
children who are carefully assessed as transgender and who are allowed to transition
to their affirmed gender, we have no documentation of a child who has ‘desisted’ and
asked to return to his or her assigned gender.”

                                          55
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 61 of 144




      144.   Individual patients often pin excessive hope on transition, believing it

will solve what may be ordinary social stresses associated with maturation, or mental

health co-morbidities. In this way, transition can prevent such patients from

overcoming personal challenges at the appropriate time or directly addressing

conditions that require treatment. When the hoped-for “vanishing” of other mental

health or social difficulties does not occur, disappointment, distress, and depression

may ensue. It is noteworthy that half of the respondents to the larger “detransitioner”

survey reported that their transition had not helped the gender dysphoria, and 70%

had concluded that their gender dysphoria was related to other issues.

(Vandenbussche 2021.) Without the clinical experience of monitoring the psychosocial

outcomes of these young patients as they age into adulthood, many professionals face

no challenge to their support for trans affirmative care. But medical and mental

health professionals who treat trans-identifying children and adolescents have an

ethical obligation to inform themselves, and to inform patients and parents, that

these dramatic treatments are not a panacea.

      145.   Moreover, as I review below, social transition cannot be considered or

decided alone. Studies show that engaging in social transition starts a juvenile on a

“conveyor belt” path that almost inevitably leads to the administration of puberty
blockers, which in turn almost inevitably leads to the administration of cross-sex

hormones. The emergence of this well-documented path means that the implications

of taking puberty blockers and cross-sex hormones must be considered even where

“only” social transition is being considered or requested by the child or family. As a

result, there are important “known risks” associated with social transition.




                                          56
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 62 of 144



       C.     Administration of puberty blockers is a powerful medical and
              psychotherapeutic intervention that radically changes
              outcomes, almost eliminating desistance on the historically
              observed timeline.
       146.   It should be understood that puberty blockers are usually administered

to early-stage adolescents as part of a path that includes social transition. Yet

medicine does not know what the long-term health effects on bone, brain, and other

organs are of a “pause” between ages 11–16. Medicine also does not know if the long-

term effects of these compounds are different in boys than in girls. The mental health

professional establishment likewise does not know the long-term effects on coping

skills, interpersonal comfort, and intimate relationships of this “pause” while one’s

peers are undergoing their maturational gains in these vital arenas of future mental

health. I address medical, social, and mental health risks associated with the use of

puberty blockers in Section X. Here, I note that the data strongly suggests that the

administration of puberty blockers, too, must be considered to be a component of a

“psychosocial treatment” with complex implications, rather than simply a “pause.”

       147.   Multiple studies show that the large majority of children who begin

puberty blockers go on to receive cross-sex hormones. (de Vries 2020 at 2.) A recent

study by the Tavistock and Portman NHS Gender Identity Development Service

(UK)—the world’s largest gender clinic— found that 98% of adolescents who
underwent puberty suppression continued on to cross-sex hormones. (Carmichael et

al. 2021 at 12.)10

       148.   These studies demonstrate that going on puberty blockers virtually

eliminates the possibility of desistance in juveniles. Rather than a “pause,” puberty

blockers appear to act as a psychosocial “switch,” decisively shifting many children to

a persistent transgender identity. Therefore, as a practical and ethical matter, the



        See also Brik 2020, where Dutch researchers found nearly 97% of adolescents
       10

who received puberty blockers proceeded to cross-sex hormones.

                                          57
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 63 of 144




decision to put a child on puberty blockers must be considered as the equivalent of a

decision to put that child on cross-sex hormones, with all the considerations and

informed consent obligations implicit in that decision.

VIII. TRANSITION   AND   AFFIRMATION   ARE    EXPERIMENTAL
      THERAPIES THAT HAVE NOT BEEN SHOWN TO IMPROVE MENTAL
      OR PHYSICAL HEALTH OUTCOMES BY YOUNG ADULTHOOD.
      149.    It is undisputed that children and adolescents who present with gender

dysphoria exhibit a very high level of mental health comorbidities. (Section III.C.)

Whether the gender dysphoria is cause or effect of other diagnosed or undiagnosed

mental health conditions, or whether these are merely coincident comorbidities, is

hotly disputed, but the basic fact is not.

      A.      The knowledge base concerning therapies for gender dysphoria
              is “very low quality.”
      150.    It is important for all to admit that the knowledge base concerning the

causes and treatment of gender dysphoria has low scientific quality. In evaluating

claims of scientific or medical knowledge, it is axiomatic in science that no knowledge

is absolute, and to recognize the widely accepted hierarchy of reliability when it comes

to “knowledge” about medical or psychiatric phenomena and treatments.

Unfortunately, in this field opinion is too often confused with knowledge, rather than
clearly locating what exactly is scientifically known. In order of increasing confidence,

such “knowledge” may be based upon data comprising:

           a. Expert opinion—it is perhaps surprising to educated laypersons that

              expert opinion standing alone is the lowest form of knowledge, the least

              likely to be proven correct in the future. Reliance on well-known or well-

              credentialled “experts,” or the head of a gender clinic, is sometimes

              referred to as eminence-based medicine. Their opinions do not garner as

              much respect from professionals as what follows;



                                             58
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 64 of 144




          b. A single case or series of cases (what could be called anecdotal evidence)

             (Levine 2016 at 239);

          c. A series of cases with a control group;

          d. A cohort study;

          e. A randomized double-blind clinical trial;

          f. A review of multiple trials;

          g. A meta-analysis of multiple trials that maximizes the number of

             patients treated despite their methodological differences to detect

             trends from larger data sets.

      151.   Prominent voices in the field have emphasized the severe lack of

scientific knowledge in this field. The American Academy of Child and Adolescent

Psychiatry has recognized that “Different clinical approaches have been advocated

for childhood gender discordance. There have been no randomized controlled trials of

any treatment. [T]he proposed benefits of treatment to eliminate gender discordance

… must be carefully weighed against … possible deleterious effects.” (Adelson et al.

2012 at 968–69.) Similarly, the American Psychological Association has stated,

“because no approach to working with [transgender and gender nonconforming]

children has been adequately, empirically validated, consensus does not exist
regarding best practice with pre-pubertal children.” (APA 2015 at 842.)

      152.   Critically, “there are no randomized control trials with regard to

treatment of children with gender dysphoria.” (Zucker 2018 at 8.) On numerous

critical questions relating to cause, developmental path if untreated, and the effect of

alternative treatments, the knowledge base remains primarily at the level of the

practitioner’s exposure to individual cases, or multiple individual cases. As a result,

claims to certainty are not justifiable. (Levine 2016 at 239.)




                                            59
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 65 of 144




      153.   Within the last two years, at least five formal, independent, systematic

evidence reviews concerning hormonal interventions for gender dysphoria have been

conducted. All five found all of the available clinical evidence to be very low quality.

      154.   The British National Health Service (NHS) commissioned formal

“evidence reviews” of all clinical papers concerning the efficacy and safety of puberty

blockers and cross-sex hormones as treatments for gender dysphoria. These evidence

reviews were performed by the U.K. National Institute for Health and Care

Excellence (NICE), applying the respected “GRADE” criteria for evaluating the

strength of clinical evidence.

      155.   Both the review of evidence concerning puberty blockers and the review

of evidence concerning cross-sex hormones were published in 2020, and both found

that all available evidence as to both efficacy and safety was “very low quality”

according to the GRADE criteria. (NICE 2020a; NICE 2020b.) “Very low quality”

according to GRADE means there is a high likelihood that the patient will not

experience the hypothesized benefits of the treatment. (Balshem et al. 2011.)

      156.   Similarly, the highly respected Cochrane Library—the leading source of

independent systematic evidence reviews in health care—commissioned an evidence

review concerning the efficacy and safety of hormonal treatments now commonly
administered to “transitioning transgender women” (i.e., testosterone suppression

and estrogen administration to biological males). That review, also published in 2020,

concluded that “We found insufficient evidence to determine the efficacy or safety of

hormonal treatment approaches for transgender women in transition.” (Haupt et al.

2020 at 2.) It must be understood that both the NICE and the Cochrane reviews

considered all published scientific studies concerning these treatments. Similarly,

McMasters University’s skillful methodological unit recently reached the same

conclusion. (Brignardello-Petersen & Wiercioch 2022.)


                                           60
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 66 of 144




      157.   As to social transition, as I have noted above, considerable evidence

suggests that socially transitioning a pre-pubertal child puts him or her on a path

from which very few children escape—a path which includes puberty blockers and

cross-sex hormones before age 18. And for some, surgery before the age of majority.

A decision about social transition for a child must be made in light of what is known

and what is unknown about the effects of those expected future interventions. Social

transition, therefore, is not merely reversible behavioral change. It is the beginning

of a medically dependent future and should be explained as such.

      158.   I discuss safety considerations in Section X below. Here, I detail what is

known about the effectiveness of social and hormonal transition and affirmation to

improve the mental health of individuals diagnosed with gender dysphoria.

      B.     Youth who adopt a transgender identity show no durable
             improvement in mental health after social, hormonal, or
             surgical transition and affirmation.
      159.   As I noted above, the evidence reviews for the efficacy and safety of

hormonal interventions published in 2020 concluded that the supporting evidence is

so poor that there is “a high likelihood that the patient will not experience the

hypothesized benefits of the treatment.” (Thompson 2022.) There is now some

concrete evidence that, on average, they do not experience those benefits.
      160.   An important paper published in 2021 by Tavistock clinic clinicians

provided the results of the first longitudinal study that measured widely used metrics

of general psychological function and suicidality before commencement of puberty

blockers, and then at least annually after commencing puberty blockers. After up to

three years, they “found no evidence of change in psychological function with GnRHa

treatment as indicated by parent report (CBCL) or self-report (YSR) of overall

problems, internalizing or externalizing problems or self-harm” as compared to the

pre-puberty-blocker baseline evaluations. “Outcomes that were not formally tested
also showed little change.” (Carmichael at al. 2021, at 18–19.) Similarly, a study by
                                          61
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 67 of 144




Bränström and Pachankis of the case histories of a set of adults diagnosed with GD

in Sweden found no positive effect on mental health from hormonal treatment.

(Bränström & Pachankis, 2020; Landéen 2020.)

      161.   Kiera Bell, who was diagnosed with gender dysphoria at the Tavistock

Clinic, given cross-sex hormones, and treated by mastectomy, before desisting and

reclaiming her female gender identity, and a Swedish teen girl who appeared in a

recent documentary after walking that same path, have both stated that they feel

that they were treated “like guinea pigs,” experimental subjects. They are not wrong.

      162.   A cohort study by authors from Harvard and Boston Children’s Hospital

found that youth and young adults (ages 12–29) who self-identified as transgender

had an elevated risk of depression (50.6% vs. 20.6%) and anxiety (26.7% vs. 10.0%); a

higher risk of suicidal ideation (31.1% vs. 11.1%), suicide attempts (17.2% vs. 6.1%),

and self-harm without lethal intent (16.7% vs. 4.4%) relative to the matched controls;

and a significantly greater proportion of transgender youth accessed inpatient mental

health care (22.8% vs. 11.1%) and outpatient mental health care (45.6% vs. 16.1%)

services. (Reisner et al. 2015 at 6.) Similarly, a longitudinal study of transgender and

gender diverse youth and young adults in Chicago found rates of alcohol and

substance abuse “substantially higher than those reported by large population-based
studies of youth and adults.” (Newcomb et al. 2020 at 14.) Members of the clinical

and research team at the prominent Dutch VU University gender dysphoria center

compared mental health metrics of two groups of subjects before (mean age 14.5) and

after (mean age 16.8) puberty blockers. But they acknowledged that the structure of

their study meant that it “can . . . not provide evidence about . . . long-term mental

health outcomes,” and that based on what continues to be extremely limited scientific

data, “Conclusions about the long-term benefits of puberty suppression should . . . be

made with extreme caution.” In other words, we just don’t know. (van der Miesen et
al. 2020 at 703.)
                                          62
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 68 of 144




      163.   A recent two-year prospective uncontrolled multisite NIMH study of 315

adolescents found that at the average age of 18 the primary benefit of hormones was

happiness with their aesthetic appearance. The effects on depression and anxiety

were very small and highly variable. There were two suicides in the study population,

a strikingly high proportion. (Chen et al. 2023 at 243.) This work did not address the

relevant long term mental health outcomes of such treatment before their two-year

finding. The authors did not report on many of the parameters they initially intended

to present. In May 2022, a group from Sweden performed a systematic review of the

mental health effects of hormonal transition. They concluded that candidates for

hormones had a high percentage of mental health problems, and the methodological

quality of the 32 papers studied (representing between 3,000 and 4,000 patients) did

not allow for a firm answer as to whether mental health was improved by hormonal

treatment. (Thompson et al. 2022.)

      C.     Long-term mental health outcomes for individuals who persist
             in a transgender identity are poor.
      164.   The responsible MHP cannot focus narrowly on the short-term

happiness of the young patient but must instead consider the happiness and health

of the patient from a “life course” perspective. When we look at the available studies

of individuals who continue to inhabit a transgender identity across adult years, the
results are strongly negative.

      165.   In the United States, the death rates of trans-identifying veterans are

comparable to those with schizophrenia and bipolar diagnoses—20 years earlier than

expected. These crude death rates include significantly elevated rates of substance

abuse as well as suicide. (Levine 2017 at 10.) Similarly, researchers in Sweden and

Denmark have reported on almost all individuals who underwent sex-reassignment

surgery over a 30-year period. (Dhejne et al. 2011; Simonsen et al. 2016.) The Swedish
follow-up study similarly found a suicide rate in the post-SRS population 19.1 times

                                         63
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 69 of 144




greater than that of the controls; both studies demonstrated elevated mortality rates

from medical and psychiatric conditions. (Levine 2017 at 10.)

      166.   A study in the American Journal of Psychiatry reported high mental

health utilization patterns of adults for ten years after surgery for approximately 35%

of patients. (Bränström & Pachankis 2020.) Indeed, earlier Swedish researchers in a

long-term study of all patients provided with SRS over a 30-year period (median time

since SRS of > 10 years) concluded that individuals who have SRS exhibit such poor

mental health that they should be provided very long-term psychiatric care as the

“final” transition step of SRS. (Dhejne et al. 2011 at 6–7.) Unfortunately, across the

succeeding decade, in Sweden and elsewhere their suggestion has been ignored.

      167.   A recent all-cause mortality study from the UK found a significant

excess of deaths among trans-identifying individuals compared to age matched

controls of both sexes. External causes of death (suicide, homicide, accidental

poisoning) were particularly higher than control groups. The risk of death was 34%

greater among trans-identified individuals than the general population. The mean

age of the trans group was 36 years. (Jackson et al. 2023 at 4, 7.) A similar

retrospective study from Denmark found the all-cause mortality ratio to be 1.7,

significantly higher than controls. (Erlangsen et al. 2023 at 2151.) I will note that
these studies do not tell us whether the subjects first experienced gender dysphoria

as children, adolescents, or adults, so we cannot be certain how their findings apply

to each of these subpopulations which represent quite different pathways. But in the

absence of knowledge, we should be cautious.

      168.   Meanwhile, no studies show that affirmation of pre-pubescent children

or adolescents leads to more positive outcomes (mental, physical, social, or romantic)

by, e.g., age 25 or older than does “watchful waiting” or ordinary therapy. Even the

Endocrine Society’s systematic review on hormone therapy and mental health noted


                                          64
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 70 of 144




that “[i]t was impossible to draw conclusions about the effects of hormone therapy on

death by suicide.” (Baker 2021 at 12.)

      169.   The many studies that I have cited here warn us that as we look ahead

to the patient’s life as a young adult and adult, the prognosis for the physical health,

mental health, and social well-being of the child or adolescent who transitions to live

in a transgender identity is not good. Gender dysphoria is not “easily managed” when

one understands the marginalized, vulnerable physical, social, and psychological

status of adult trans populations and their premature death patterns. In my opinion,

however, the consistent findings from Europe and the United States that all-cause

mortality is elevated should give health professionals, parents, teachers, and patients

reason to think more clearly about the rush to affirm minors’ transgender identities.

IX.   TRANSITION AND AFFIRMATION DO NOT DECREASE, AND MAY
      INCREASE, THE RISK OF SUICIDE.

      A.     The risk of suicide among transgender youth is confused and
             exaggerated in the public mind.
      170.   While suicide is closely linked to mental health, I comment on it

separately because rhetoric relating to suicide figures so prominently in debates

about responses to gender dysphoria.

      171.   The mental health profession distinguishes suicidal thoughts from
suicidal behaviors. Suicidal behaviors are further separated into those that are

gestures—a cry for help, an attempt to get something from someone, a rageful

attempt to hurt someone—and those that have a lethal intent, whether they are

successful in ending life or not. Suicidal thoughts and suicidal gestures, while

problematic, are less serious harms because they do not evince an actual lethal intent.

Separate from the topic of “suicide” is the matter of non-lethal self-harming

behaviors. Cutting and burning are the best known of these forms, but the body can
be harmed in numerous self-induced ways. Trans youth have a higher prevalence of


                                          65
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 71 of 144




suicidal and self-harming behaviors than cis-gendered youth. (Reisner et al. 2015 at

6.)

      172.    At the outset, I will note that any discussion of suicide when considering

younger children involves very long-range and very uncertain prediction. Suicide in

pre-pubescent children is extremely rare, and the existing studies of gender identity

issues in pre-pubescent children do not report significant incidents of suicide. Any

suggestion otherwise is misinformed. Our focus for this topic, then, is on adolescents

and adults.

      173.    Some authors have reported rates of suicidal thoughts and behaviors

among trans-identifying teens or adults ranging from 25% to as high as 52%,

generally through non-longitudinal self-reports obtained from non-representative

survey samples. (Toomey et al. 2018.) Some advocates of affirmative care assert that

the only treatment to avoid this serious harm is to affirm gender identity. Contrary

to these assertions, no studies show that the social or medical affirmation of a

transgender identity in children (or anyone else) reduces suicide, prevents suicidal

ideation, or improves long-term outcomes, as compared to either a “watchful waiting”

or a psychotherapeutic model of response, as I have described above. Rhetorical

references to figures such as 40%—and some published studies—confuse suicidal
thoughts and actions that represent a cry for help, manipulation, or expression of

rage with serious attempts to end life. Such statements or studies ignore a crucial

and long-recognized distinction. These figures often are based on self-reports from

individuals who may not make the relevant distinction. Examples of such unreliable

self-reported data include a 2015 study reporting that trans youth attempted suicide

at a rate of nearly 9x that of the general population (James et al. 2016 at 114), a 2019

study stating that nearly 35% of transgender high school students reported

attempting suicide (Johns et al. 2019 at 69), and federal and state Youth Risk
Behavior Surveys (which provided the basis for the results of the Johns study). (Youth
                                           66
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 72 of 144




Risk Behavior Surveillance; Vermont Youth Risk Behavior Survey Statewide

Results.) Such self-reported data, alarming as they are, are not able to distinguish

gestures from attempts with lethal potentiality. The data further do make any

comment on causation. No studies show that gender dysphoria causes higher self-

reported rates of attempted suicide, as opposed to the other common comorbidities

faced by this population, nor do any studies show that social or medical affirmation

reduces the rate of self-reported attempted suicide.

      174.   It has been documented that suicidality in lesbian, gay, and bisexual

youth is so common as to be considered “normal” within those communities and that

sexual minority youth’s suicidal thoughts have different meanings than suicidal

thoughts among similarly aged heterosexual youth. (Canneto et al. 2021.) Much of

the discussion in this work refers to sexual minority youth, a term that commonly

includes   transgendered   adolescents.   Many    transgendered    adolescents   also

temporarily identify as gay, lesbian, or bisexual. This work’s understanding is

relevant to them as well, since all sexual minority groups share a sexual-minority

identity and attitudes.

      175.   I have included suicidality in my discussion of mental health above.

Here, I focus on actual suicide. Too often, in public comment suicidal thoughts are
blurred with suicide. Yet the available data tells us that suicide among children and

youth suffering from gender dysphoria is extremely rare.

      176.   An important analysis of data covering patients as well as those on the

waiting list (and thus untreated) at the UK Tavistock gender clinic—the world’s

largest gender clinic—found a total of only four completed suicides across 11 years’

worth of patient data, reflecting an estimated cumulative 30,000 patient-years spent

by patients under the clinic’s care or on its waiting list. This corresponded to an

annual suicide rate of 0.013%. The proportion of individual patients who died by


                                          67
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 73 of 144




suicide was 0.03%, which is orders of magnitude smaller than trans-identifying

adolescents who self-report suicidal behavior or thoughts on surveys. (Biggs 2022b.)

      177.   Thus, only a minute fraction of trans-identifying adolescents who report

thoughts or conduct considered to represent “suicidality” commit suicide. I agree with

Dr. Zucker that the assertion by, for example, Karasic and Ehrensaft (2015) that

completed suicides among transgender youth are “alarmingly high” “has no formal

and systematic empirical basis.” (Zucker 2019 at 3.)

      178.   Professor Biggs of Oxford, author of the study of incidence of suicide

among Tavistock clinic patients, rightly cautions that it is “irresponsible to

exaggerate the prevalence of suicide.” (Biggs 2022b at 4.) It is my opinion that telling

parents—or even allowing them to believe from their internet reading—that they face

a choice between “a live son or a dead daughter” is both factually wrong and unethical.

Informed consent requires clinicians to ensure that their patients understand the

truth. Those clinicians who claim a high risk of suicide in adolescence confuse suicidal

ideation with suicide or with a profoundly heightened risk of suicide. Suicidal ideation

sometimes can be a response to have an out mechanism if things get much worse—

that is, the creation of self-control, being in charge. Such discernments require an

experienced clinician.

      B.     Transition of any sort has not been shown to reduce levels of
             suicide.
      179.   Every suicide is a tragedy, and steps that reduce suicide should be

adopted. I have noted above that suicidality (that is, suicidal thoughts or behaviors,

rather than suicide) is common among transgender adolescents and young adults

before, during, and after social and medical transition. If a medical or mental health

professional believes that an individual he or she is diagnosing or treating for gender

dysphoria presents a suicide risk, in my view it is unethical for that professional
merely to proceed with treatment for gender dysphoria and hope that “solves the

                                          68
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 74 of 144




problem.” Rather, that professional has an obligation to provide or refer the patient

for evidence-based therapies for addressing depression and suicidal thoughts that are

well-known to the profession. (Levine 2016 at 242.)

      180.     This is all the more true because there is in fact no evidence that social

and/or medical transition reduces the risk or incidence of actual suicide. As there are

no long-term comparative studies of gender dysphoric adolescents with suicidal

ideation, per se, let alone a comparative study of those who were given hormones and

those who did not take hormones, there is no scientific basis for declaring affirmative

care as reducing suicidal risk. In his analysis of those who were patients of or on the

waiting list of the Tavistock clinic, Professor Biggs found that the suicide rate was

not higher among those on the clinic’s waiting list (and thus as-yet untreated), than

for those who were patients under care. (Biggs 2022b.) And as corrected, Bränström

and Pachankis similarly acknowledge that their review of records of GD patients

“demonstrated no advantage of surgery in relation to . . . hospitalizations following

suicide attempts.” (I assume for this purpose that attempts that result in

hospitalization are judged to be so serious as to predict a high rate of future suicide

if not successfully addressed.)11 Long-term life in a transgender identity, however,

correlates with very high rates of completed suicide. The European death rates
studies quoted above from registry data each showed elevated rates of suicide

compared to the countries’ non-transgendered population groups.

      181.     As with mental health generally, the patient, parent, or clinician fearing

the risk of suicide must consider not just the next month or year, but a life course

perspective.


      11
        Turban et al. (2020) has been described in press reports as demonstrating
that administration of puberty suppressing hormones to transgender adolescents
reduces suicide or suicidal ideation. The paper itself does not make that claim, nor
permit that conclusion

                                            69
          Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 75 of 144




         182.   There are four long-term studies that analyze completed suicide among

those living in transgender identities into adulthood that were published before 2022.

I have discussed above two 2023 studies from the UK and Denmark. (See paragraph

162.) The results of the older studies vary significantly but are uniformly highly

negative. Dhejne reported a long-term follow-up study of subjects after sex

reassignment surgery. Across the thirty-year study, subjects who had undergone SRS

committed suicide at 19.1 times the expected rate compared to general population

controls matched by age and both sexes. MtF subjects committed suicide at 13.9 times

the expected rate, and FtM subjects committed suicide at 40.0 times the expected

rate. (Dhejne et al. 2011 Supplemental Table S1. See also McNeil 2017 (systematic

review noting confirmed suicide rates remained elevated after transition).)

         183.   Asscheman, also writing in 2011, reported results of a long-term follow-

up of all transsexual subjects of the Netherlands’ leading gender medicine clinic who

started cross-sex hormones before July 1, 1997, a total of 1331 patients. (Van

Kesteren et al. is an earlier version of Asscheman’s study.) Due to the Dutch system

of medical and death records, extensive follow-up was achieved. Median follow-up

period was 18.5 years. The mortality rate among MtF patients was 51% higher than

among the age-matched general population; the rate of completed suicide among MtF
patients was six times that of the age-matched general population. (Asscheman et al.

2011.)

         184.   Importantly, Asscheman et al. found that “No suicides occurred within

the first 2 years of hormone treatment, while there were six suicides after 2–5 years,

seven after 5–10 years, and four after more than 10 years of CSH treatment at a

mean age of 41.5 years.” (Asscheman et al. 2011 at 637–38.) This suggests that

studies that follow patients for only a year or two after treatment are insufficient.

Asscheman et al.’s data suggest that such short-term follow-up is engaging only with


                                            70
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 76 of 144




an initial period of optimism, and it will simply miss the feelings of disillusionment

and the increase in completed suicide that follows in later years.

      185.   A retrospective, long-term study published in 2020 of a very large cohort

(8263) of patients referred to the Amsterdam University gender clinic between 1972

and 2017 found that the annual rate of completed suicides among the transgender

subjects was “three to four times higher than the general Dutch population.” “[T]he

incidence of observed suicide deaths was almost equally distributed over the different

stages of treatment.” The authors concluded that “vulnerability for suicide occurs

similarly in the different stages of transition.” (Wiepjes et al. 2020.) In other words,

neither social nor medical transition reduced the rate of suicide. This study

demonstrates that the risk of ultimate suicide is not reduced by hormonal or surgical

treatment.

      186.   Similar to Asscheman et al., Wiepjes et al. found that the median time

between start of hormones and suicide (when suicide occurred) was 6.1 years for natal

males, and 6.9 years for natal females. Again, short- or even medium-term studies

will miss this suicide phenomenon.

      187.   A 2021 study analyzed the case histories of a cohort of 175 gender

dysphoria patients treated at one of the seven UK adult gender clinics who were
“discharged” (discontinued as patients) within a selected one-year period. The

authors reported the rather shocking result that 7.7% (3/39) of natal males who were

diagnosed and admitted for treatment, and who were between 17 and 24 years old,

were “discharged” because they committed suicide during treatment. (Hall et al.

2021, Table 2.)

      188.   And researchers conducting an ongoing study this year reported a very

high rate of completed suicides by adolescents soon after (i.e., the first two years)

medical transition. (Chen et al. 2023 at 245.)


                                          71
           Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 77 of 144




          189.   None of these studies demonstrates that the hormonal or surgical

intervention caused suicide. That is possible, but as we have seen, the population that

identifies as transgender suffers from a high incidence of comorbidities that correlate

with suicide. What these studies demonstrate—at the least—is that this remains a

troubled population in need of extensive and careful psychological care that they

generally do not receive, and that neither hormonal nor surgical transition and

“affirmation” resolve their underlying problems and put them on the path to a stable

and healthy life.

          190.   In sum, claims that affirmation will reduce the risk of suicide for

children and adolescents are not based on science.

X.        HORMONAL INTERVENTIONS ARE EXPERIMENTAL
          PROCEDURES THAT HAVE NOT BEEN PROVEN SAFE.
          191.   A number of voices in the field assert that puberty blockers act merely

as a “pause” in the process of puberty-driven maturation, suggesting that this

hormonal intervention has been proven to be fully reversible. This is also an unproven

belief.

          192.   On the contrary, no studies have been done that meaningfully

demonstrate that either puberty blockers or cross-sex hormones, as prescribed for
gender dysphoria, are safe in other than the short run. No studies have attempted to

determine whether the effects of puberty blockers, as currently being prescribed for

gender dysphoria, are fully reversible. There are only pronouncements. In fact, there

are substantial reasons for concern that these hormonal interventions are not safe.

Multiple researchers have expressed concern that the full range of possible harms

have not even been correctly conceptualized.

          193.   As I explained in Section IV.F, use of hormonal interventions for the

purpose of gender affirmation in adolescents can fairly be described as experimental,
unproven, and dangerously uncertain. Because, as I have explained in Section VII,

                                            72
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 78 of 144




recent evidence demonstrates that pre-pubertal social transition almost always leads

to progression on to puberty blockers which in turn almost always leads to the use of

cross-sex hormones, physicians bear the ethical responsibility for a thorough

informed consent process for parents and patients that includes this fact and its full

implications. Informed consent does not mean sharing with the parents and patients

what the doctor believes: it means sharing what is known and what is not known

about the intervention. So much of what doctors believe is based on mere trust in

what they have been taught. Neither they themselves nor their teachers may be

aware of the scientific foundation and scientific limitations of what they are

recommending.

      A.     Use of puberty blockers has not been shown to be safe or
             reversible for gender dysphoria.
      194.   As I noted above, the recent very thorough literature review performed

for the British NHS concluded that all available clinical evidence relating to “safety

outcomes” from administration of puberty blockers for gender dysphoria is of “very

low certainty.” (NICE 2020b, at 6.)

      195.   In its 2017 Guidelines, the Endocrine Society cautioned that “in the

future we need more rigorous evaluations of the effectiveness and safety of endocrine

and surgical protocols” including “careful assessment of . . . the effects of prolonged
delay of puberty in adolescents on bone health, gonadal function, and the brain

(including effects on cognitive, emotional, social, and sexual development).” (Hembree

et al. 2017 at 3874.) No such “careful” or “rigorous” evaluation of these very serious

safety questions has yet been done.

      196.   Some advocates assert that puberty blockers are “safe” because they

have been approved by the Food and Drug Administration (FDA) for use to treat

precocious puberty—a rare condition in which the puberty process may start at eight
or younger. No such conclusion can be drawn. As the “label” for Lupron (one of the

                                          73
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 79 of 144




most widely prescribed puberty blockers) explains, the FDA approved the drug only

until the “age was appropriate for entry into puberty.” The study provides no

information at all as to the safety or reversibility of instead blocking healthy,

normally timed puberty’s beginning, and throughout the years that body-wide

continuing changes normally occur. Given the physical, social, and psychological

dangers to the child with precocious puberty, drugs like Lupron are effective in

returning the child to a puerile state like their peers without a high incidence of

significant side effects—that is, they are “safe” to reverse the condition. But use of

drugs to suppress normal puberty has multiple organ system effects whose long-term

consequences have not been investigated.

      197.   Fertility: The Endocrine Society Guidelines rightly say that research is

needed into the effect of puberty blockade on “gonadal function” and “sexual

development.” The core purpose and function of puberty blockers is to prevent the

maturation of the ovaries or testes, the sources of female hormones and male

hormones when stimulated by the pituitary gland. From this predictable process

fertility is accomplished within a few years. Despite widespread assertions that

puberty blockers are “fully reversible,” there has been no study published on the

critical question of whether patients ever develop normal levels of fertility if puberty
blockers are terminated after a prolonged delay of puberty. The 2017 Endocrine

Society Guidelines are correct that are no data on achievement of fertility “following

prolonged gonadotropin suppression” (that is, puberty blockade). (Hembree et al.

2017 at 3880.)

      198.   Bone strength: Multiple studies have documented adverse effects from

puberty blockers on bone density. (Klink et al. 2015; Vlot et al. 2016; Joseph et al.

2019.) The most recent found that after two years on puberty blockers, the bone

density measurements for a significant minority of the children had declined to
clinically concerning levels. Density in the spines of some subjects fell to a level found
                                           74
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 80 of 144




in only 0.13% of the population. (Biggs 2021.) Some other studies have found less-

concerning effects on bone density. While the available evidence remains limited and

conflicting, it is not possible to conclude that the treatment is “safe.”

      199.   Brain development: Important neurological growth and development

in the brain occurs across puberty. (See Shirazi 2020.) The anatomic and functional

effect on brain development of blocking the natural puberty process has not been well

studied. A prominent Australian clinical team recently expressed concern that “no

data were (or are) available on whether delaying the exposure of the brain to a sex

steroid affects psychosexual, cognitive, emotional, or other neuropsychological

maturation.” (Kozlowska et al. 2021 at 89.) Others have echoed this concern. (Cass

2022 at 38–39; Chen et al. 2020 at 249; Hembree et al. 2017 at 3874.) In my opinion,

given the observed correlation between puberty and brain development, the default

hypothesis must be that there would be a negative impact. For the purpose of

protecting patients all over the world, the burden of proof should be on advocates to

first demonstrate to a reasonable degree of certainty that brain structure and its

measurable cognitive and affect processing are not negatively affected. This recalls

the ethical principle: Above All Do No Harm.

      200.   The Endocrine Society Guidelines acknowledge as much, stating that
side effects of pubertal suppression “may include . . . unknown effects on brain

development,” that “we need more rigorous evaluations of . . . the effects of prolonged

delay of puberty in adolescents on . . . the brain (including effects on cognitive,

emotional, social, and sexual development),” and stating that “animal data suggests

there may be an effect of GnRH analogs [puberty blockers] on cognitive function.”

(Hembree et al. 2017 at 3874, 3882–83.) Given this concern, one can only wonder why

this relevant question has not been scientifically investigated in a large group of natal

males and females.


                                           75
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 81 of 144




      201.   There has been a single longitudinal study of one natal male child,

assessed before, and again 20 months after, puberty suppression was commenced. It

reported a reduction in the patient’s “global IQ,” measured an anomalous absence of

certain structural brain development expected during normal male puberty and

hypothesized that “a plausible explanation for the G[lobal] IQ decrease should

consider a disruption of the synchronic [i.e., appropriately timed] development of

brain areas by pubertal suppression.” (Schneider et al. 2017 at 7.) This should cause

parents’ and practitioners’ serious concern.

      202.   Whether any impairment of brain development is “reversed” upon later

termination of puberty blockade has, to my knowledge, not been studied at all. As a

result, assertions by medical or mental health professionals that puberty blockade is

“fully reversible” are unjustified and based on hope rather than science.

      203.   Without additional case studies—or preferably statistically significant

clinical studies—two questions remain unanswered: Are there brain anatomic or

functional impairments from puberty blockers? And are the documented changes

reversed over time when puberty blockers are stopped? With these questions

unanswered, it is impossible to assert with certainty that the effects of this class of

medications are “fully reversible.” Such an assertion is another example of ideas
based on beliefs rather than on documentation, on hope not science.

      204.   Psycho-social harm: Puberty is a time of stress, anxiety, bodily

discomfort during physical development, and identity formation for all humans. No

careful study has been done of the long-term impact on the young person’s coping

skills, interpersonal comfort, and intimate relationships from remaining puerile for,

e.g., two to five years while one’s peers are undergoing pubertal transformations, and

of then undergoing an artificial puberty at an older age. However, pediatricians and

mental health professionals hear of distress, concern, and social awkwardness in
those who naturally have a delayed onset of puberty. In my opinion, individuals in
                                          76
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 82 of 144




whom puberty is delayed multiple years are likely to suffer at least subtle negative

psychosocial and self-confidence effects as they stand on the sidelines witnessing

their peers developing the social relationships (and attendant painful social learning

experiences) that come with adolescence. (Levine 2018a at 9.) Social anxiety and

social avoidance are common findings in the evaluation of trans-identified children

and teens. Are we expected to believe that creating years of being further different

than their peers has no lasting internal consequences? Do we ignore Adolescent

Psychiatry’s knowledge of the importance of peer groups among adolescents?

      205.   We simply do not know what all the psychological impacts of not

grappling with puberty at the ordinary time may be, because it has not been studied.

And we have no information as to whether that impact is “fully reversible.” We should

at least consider that the normal pubertal ushering of an adolescent into the world of

sexual attraction, romantic preoccupations, sexual desires, and forays into

interpersonal intimate relationships can be a positive experience for an untreated

trans identified child. In contrast, puberty is presented solely as a negative process

to be avoided by puberty blockers. In psychiatry we have the concept that conflict is

inevitable, and its resolution strengthens a person’s capacities to deal with the future.

This applies to individuals of any age.
      206.   In addition, since the overwhelming proportion of children who begin

puberty blockers continue on to cross-sex hormones, it appears that there is an

important element of “psychological irreversibility” in play. The question of to what

extent the physical and developmental impacts of puberty blockers might be

reversible is an academic one, if psycho-social realities mean that very few patients

will ever be able to make that choice once they have started down the road of social

transition and puberty blockers.




                                           77
          Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 83 of 144



      B.      Use of cross-sex hormones in adolescents for gender dysphoria
              has not been shown to be medically safe except in the short term.
      207.    As with puberty blockers, all evidence concerning the safety of extended

use of cross-sex hormones is of “very low quality.” The U.K. NICE evidence review

cautioned that “the safety profiles” of cross-sex hormone treatments are “largely

unknown,” and that several of the limited studies that do exist reported high numbers

of subjects “lost to follow-up,” without explanation—a worrying indicator. (NICE

2020b.)

      208.    The 2020 Cochrane Review reported that: “We found insufficient

evidence to determine the . . . safety of hormonal treatment approaches for

transgender women in transition.” (Haupt et al. 2020 at 4.) Even the Endocrine

Society tagged all its recommendations for the administration of cross-sex hormones

as based on “low quality evidence.” (Hembree et al. 2017 at 3889.)

      209.    The low quality of evidence to support use of puberty blockers and cross-

sex hormones in the transition of minors cannot be dismissed simply by citing other

medical interventions such as cleft or cranial-facial surgery that are commonly used

without supporting evidence. In other areas lacking in high quality evidence, the

patient’s biology, eating habits, or traumas have generated a problem to be

ameliorated. In gender dysphoria, other treatment approaches are possible that do
not carry the significant risks of harm posed by medical and ultimate surgical

interventions.

      210.    Sterilization: It is undisputed, however, that harm to the gonads is an

expected effect, to the extent that it must be assumed that cross-sex hormones will

sterilize the patient. Thus, the Endocrine Society 2017 Guidelines caution that

“[p]rolonged exposure of the testes to estrogen has been associated with testicular

damage,” that “[r]estoration of spermatogenesis after prolonged estrogen treatment

has not been studied,” and that “[i]n biological females, the effect of prolonged


                                          78
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 84 of 144




treatment with exogenous testosterone upon ovarian function is uncertain.”

(Hembree et al. 2017 at 3880.)12

      211.   The Guidelines go on to recommend that the practitioner counsel the

patient about the (problematic and uncertain) options available to collect and

preserve fertile sperm or ova before beginning cross-sex hormones. The life-long

negative emotional impact of infertility on both men and women has been well

studied. While this impact has not been studied specifically within the transgender

population, the opportunity to be a parent is likely a human, emotional need, and so

should be considered an important risk factor when considering gender transition for

any patient. What has been documented is the low rate of acceptance of banking

sperm or ova in this population, which is an expensive ongoing process.

      212.   Sexual response: Puberty blockers prevent maturation of the sexual

organs and response. Some, and perhaps many, transgender individuals who did not

go through puberty consistent with their sex and are then put on cross-sex hormones

face significantly diminished sexual response as they enter adulthood and are unable

ever to experience orgasm. In the case of males, the cross-sex administration of

estrogen limits penile genital growth and function. In the case of females, prolonged

exposure to exogenous testosterone impairs vaginal function. Much has been written
about the negative psychological and relational consequences of anorgasmia among

non-transgender individuals that is ultimately applicable to the transgendered.

(Levine 2018a, at 6.) At the same time, prolonged exposure of females to exogenous

testosterone often increases sexual drive to a distracting degree. It is likely that

parents and physicians are uncomfortable discussing any aspects of genital sexual


      12
          See also Guss et al. 2015 at 4 (“a side effect [of cross-sex hormones] may be
infertility”) and at 5 (“cross-sex hormones . . . may have irreversible effects”);
Tishelman et al. 2015 at 8 (Cross-sex hormones are “irreversible interventions” with
“significant ramifications for fertility”)

                                          79
          Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 85 of 144




activity with patients. And these young often interpersonally sexually inexperienced

patients are both too embarrassed to talk about the subject and too young to seriously

consider the topic.

         213.   Cardiovascular harm: Several researchers have reported that cross-

sex hormones increase the occurrence of various types of cardiovascular disease,

including strokes, blood clots, and other acute cardiovascular events. (Getahun et al.

2018; Guss et al. 2015; Asscheman et al. 2011.) With that said, I agree with the

conclusion of the Endocrine Society committee (like that of the NICE Evidence

Review) that: “A systematic review of the literature found that data were insufficient

(due to very low-quality evidence) to allow a meaningful assessment of patient-

important outcomes, such as death, stroke, myocardial infarction, or venous

thromboembolism in transgender males. Future research is needed to ascertain the

potential harm of hormonal therapies.” (Hembree et al. 2017 at 3891.) Future

research questions concerning long-term harms need to be far more precisely defined.

The question of whether cross-sex hormones are safe for adolescents and young adults

cannot be answered by analogies to hormone replacement therapy in menopausal

women (which is not a cross-sex usage). Medicine has answered safety questions for

menopausal women in terms of cancer and cardiovascular safety: at what dose, for
what duration, and at what age range. The science of endocrine treatment of gender

dysphoric youth is being bypassed by short-term clinical impressions of safety even

though physicians know that cardiovascular and cancer processes often develop over

many years.

         214.   Further, in contrast to administration for menopausal women,

hormones begun in adolescence are likely to be administered for four to six decades.

The published evidence of adverse impact, coupled with the lack of data sufficient to

reach a firm conclusion, make it irresponsible to assert that cross-sex hormones “are
safe.”
                                         80
          Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 86 of 144




         215.   Harm to family and friendship relationships: As a psychiatrist, I

recognize that mental health is a critical part of health generally, and that

relationships cannot be separated from and profoundly impact mental health. Gender

transition routinely leads to isolation from at least a significant portion of one’s family

in adulthood.

         216.   Sexual-romantic     harms     associated     with     transition:    After

adolescence, transgender individuals find the pool of individuals willing to develop a

romantic and intimate relationship with them to be greatly diminished. When a

trans-identifying person who passes well reveals his or her natal sex, many potential

mates lose interest. When a trans-identifying person does not pass well, options are

likely further diminished. But regardless of a person’s appearance, these adults soon

learn that many of their dates are looking for exotic sexual experiences rather than

genuinely loving relationships. (Levine 2017 at 5, 13; Levine 2013 at 40; Anzani et al.

2021.)

         C.     The timing of harms.
         217.   The multi-year delay between start of hormones and the spike in

completed suicide reported by both Asscheman et al. 2011 and Wiepjes et al. 2020,

warns us that the safety and beneficence of these treatments cannot be judged based
on short-term studies, or studies that do not continue into adulthood. Similarly,

several of the harms that I discuss above would not be expected to manifest until the

patients reaches at least middle age. For example, stroke or other serious

cardiovascular event is a complication that is unlikely to manifest during teen years

even if its likelihood over the patient’s lifetime has been materially increased via

obesity, lipid abnormalities, and smoking. Regret over sterilization or over an

inability to form a stable romantic relationship may occur sooner. Psychological

challenges of being a trans adult may become manifest after the medical profession
is only doing routine follow up care—or, in many cases, has lost contact with the
                                            81
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 87 of 144




patient altogether. Because few, if any, clinics in this country are conducting

systematic long-term follow-up with their child and adolescent patients, the doctors

who counsel, prescribe, or perform hormonal and surgical therapies are unlikely ever

to become aware of the later negative life impacts, however severe. These concerns

are compounded by the findings in the recent “detransitioner” research that 76% did

not inform their clinicians of their detransition. (Littman 2021.)

      218.   The possibility that steps along the transition and affirmation pathway,

while lessening the pain of gender dysphoria in the short term, could lead to

additional sources of crippling emotional and psychological pain, are too often not

considered by advocates of social transition, and not considered at all by the trans-

identifying child or adolescent. (Levine 2016 at 243.) Clinicians must distinguish the

apparent short-term safety of hormones from likely or possible long-term

consequences, and help the patient and parents understand these implications as

well. The young patient may feel, “I don’t care if I die young, just as long I get to live

as a woman.” The mature adult may take a different view. Hopefully, so will the

child’s physician.

      219.   Individual patients often pin excessive hope in transition, believing that

transition will solve what are in fact ordinary social stresses associated with
maturation, or mental health co-morbidities. In this way, transition can prevent them

from mastering personal challenges at the appropriate time or directly addressing

conditions that require treatment. When the hoped-for “vanishing” of other mental

health or social difficulties does not occur, disappointment, distress, and depression

may ensue. It is noteworthy that half of the respondents to the larger “detransitioner”

survey reported that their transition had not helped the gender dysphoria, and 70%

had concluded that their gender dysphoria was related to other issues.

(Vandenbussche 2021.) Without the clinical experience of monitoring the psychosocial
outcomes of these young patients as they age into adulthood, many such professionals
                                           82
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 88 of 144




experience no challenge to their affirmative beliefs. But medical and mental health

professionals who deliver trans affirmative care for those with previous and co-

existing mental health problems have an ethical obligation to inform themselves, and

to inform patients and parents, that these dramatic treatments are not a panacea.

      220.   Whether we consider physical or mental health, science does not permit

us to say that either puberty blockers or cross-sex hormones are “safe,” and the data

concerning the mental health of patients before, during, and after such treatments

strongly contradict the assertion that gender dysphoria is “easily managed.”

XI.   SCHOOLS ARE NOT EQUIPPED TO RESOLVE THE COMPLEX
      ETHICAL IMPLICATIONS RAISED BY SOCIAL TRANSITION.
      221.   Social transition of children has been repeatedly shown to decrease the

natural rates of desistence. As most of the new trans identities are now occurring

early in the normal puberty, these typically undergo rapid evolution in label or form—

I am lesbian, I am bisexual, I am pansexual, I am gender fluid, I am trans, I am non-

binary, I am asexual, etc. Middle school children are in the midst of intense identity

development as they are coming to grips for the first time with their new sexual

anatomic and physiological functions. Even among nontrans-identified adolescents,

adolescence has long been recognized as a years-long process of experimenting with

sexual identity before it can be stabilized for the duration of adulthood. This natural
process need not be interfered with by school officials who have little reason to

comprehend the complexities of the student’s family life, developmental adversities,

and private ambivalence and worry about their currently expressed gender identity.

Another aspect of scholastic support for the use of student preferred names is whether

the school is aware of, or has any concern about whether the parents are aware of

what is happening at school.

      222.   In providing unconditional support for trans students, school officials
may not require parental knowledge of what is happening in school in regard to name

                                          83
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 89 of 144




change, bathroom use, and activities such as athletics that may be separated by sex.

“Separated by sex” is often equated with separated by declared gender identity, and

that has been the source of considerable public debate and litigation. A school’s

imperative is to provide a safe learning environment for all students as they mature

and acquire an increasing fund of knowledge of how the world works. It should also

introduce trans identified students to the fact that the whole world does not agree

that gender transition is a good idea for individuals or society. “To each his own”

becomes limited in many people’s minds when there is a sense of unfairness to girls

who are forced to compete against boys identifying as girls. While this controversy

plays out in schools and colleges and is discussed widely, recurrently in the media,

the advisability of gender identity transition, with or without hormones, involves

complex medical and scientific issues that erudite school officials are ill equipped to

consider.

      223.   Schools have a limited capacity to address the challenges transgender

identified students face. Schools can provide a safe learning environment, access to

extracurricular activities based on either biological sex or current gender identity,

and education about social forces relevant to different subcultural groups, but they

cannot be expected to positively influence all of the forces that shape a trans youth’s
ultimate fate. The sheer complexity of the origins and consequences of trans identities

mean schools should leave the care and decisions of the transgender-identifying

student to the student, parents, and mental health professionals.

      A.     Involvement of a mental health professional is necessary for
             accurate diagnosis and appropriate treatment, and access to a
             mental health professional ordinarily requires parental
             involvement.
      224.   Both the WPATH “Standards of Care” (including the recent Version 8)

and the Endocrine Society Guidelines are clear that the involvement of a credentialed



                                          84
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 90 of 144




MHP is important in assessing, diagnosing, and supporting minors who are

experiencing gender dysphoria or similar discomfort.

      225.   Specifically, the Endocrine Society Guidelines advise that: “decisions

regarding the social transition of prepubertal youth are made with the assistance of

a mental health professional or similarly experienced professional,” and further note

that “[b]ecause of the psychological vulnerability of many individuals with GD/gender

incongruence, it is important that mental health care is available before, during, and

sometimes also after transitioning.” (Hembree et al. 2017 at 3872; 3876.)

      226.   Yet without parental involvement, schools are not able to send minors

to a competent MHP for a comprehensive assessment and diagnosis, nor the

accompanying support that would be required. School policies that pursue social

transition of a minor without the involvement of a MHP will act to the clear detriment

of the minor and, ultimately, to the parents as well.

      B.     Parental involvement is necessary for accurate and thorough
             diagnosis of the child.
      227.   Once an appropriate MHP is involved, parents remain essential to the

diagnostic process. A claim or expression of interest in a transgender identity by a

child must be the beginning, not the end, of a careful diagnostic and therapeutic

process. Transgender identification in a child is not a simple, uniform phenomenon;
there is no single pathway of development and outcomes governing transgender

identity, nor one that predominates over the large majority of cases. Instead, as

individuals grow up and age, depending on their differing psychological, social,

familial, and life experiences, their outcomes differ widely.

      228.   What can be observed by—for example—a teacher or counselor at school,

although important, is only one limited window into the multi-faceted life and psyche

of a child. A classroom teacher’s perspective emphasizes learning capacities, social



                                          85
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 91 of 144




interactions, and gender style relative to other similarly aged children, typically

during just one nine-month school year.

      229.   As a starting point, any child suffering serious tension between his or

her reproductive potential, biologically dictated body, and sense of gender identity (or

desired gender identity) should have the assistance and support of a skilled mental

health professional. A meaningful diagnosis of the child’s condition requires a

sustained relationship between an MHP, the child, and the parents over time. The

work cannot be accomplished in a meeting or two.

      230.   What the child means by a claim of transgender identity may vary

widely depending on age. Younger grade school children have some concept of gender,

but they “know” little about sex, about the future meanings and manifestations of

male or female, about gender identity, and about the evolution of all aspects of

identity over the course of life. What they know is how they currently feel and think,

what they have been told by adults, and what they have observed and unconsciously

absorbed from various family members. Thus, these children demonstrate atypicality

in choice of colors, clothing, toys, and playmates. These behavioral patterns form the

basis of the label of transgendered or the diagnosis of Gender Dysphoria of Childhood.

The diagnosis tells nothing about the forces that shaped the child’s thinking and
behavior, nor does it dictate the need for affirmative care.

      231.   The child may or may not actually suffer from Gender Dysphoria, and

this should be determined. Input from parents is important to evaluating whether a

child is suffering from “clinically significant distress or impairment in social, school,

or other important areas of functioning.” (DSM-5-TR.)

      232.   Parents typically have observed the child over his or her entire lifetime,

and so will have unique insight into whether the child’s attraction to a transgender

identity is longstanding and stable, or whether it has been abrupt and associated
with intensive online interaction with transgender “communities.” (Levine 2021;
                                           86
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 92 of 144




Leibowitz & de Vries 2016 at 26.) Based on my experience, many children manifesting

Gender Dysphoria have only one functional parent, and others are adopted or in

foster care. Early life history may not always be available or reliably correct. All

children are profoundly influenced by family members interactions and how they are

regarded and treated. The gender atypical child is no exception. (Katz-Wise 2017 at

9.) The MHP evaluator needs to explore the sometimes-secretive inner dynamics of

the family. This often requires building of trust between the parents and the MHP.

Medical systems value efficiency, high throughput of processing patients, and making

diagnoses upon the first visit. All of this tends to obscure the MHP’s ability to

understand the life experiences of the minor patient.

      233.   This important dynamic is recognized by WPATH “Standards of Care”

which says that any psychological assessment of children or adolescents: “should

include an evaluation of the strengths and weaknesses of family functioning.”

(Coleman et al. 2012 at 15.) Dr. Edwards-Leeper and Dr. Anderson also recognized

this, writing in the Washington Post that: “[t]he approach WPATH recommends is

collaborative and aims to provide a developmentally appropriate process that

involves the parents and takes the complexities of adolescence into consideration.”

(Edwards-Leeper & Anderson 2021.) The recent Version 8 of the WPATH “Standards
of Care” continues to recommend including parents or guardians in the assessment

process “in almost all situations” and goes on to emphasize that “including

parent(s)/caregiver(s) in the assessment process to encourage and facilitate increased

parental understanding and support of the adolescent may be one of the most helpful

practices available.” (Coleman et al. 2022 at S58.)

      234.   In addition, as I detail elsewhere, a large proportion of children (and

adults) who present with a transgender identity suffer from identifiable psychiatric

co-morbidities. (See Section III.C, VIII.C.) Regardless of whether these are in any way


                                          87
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 93 of 144




related to the child’s gender identity, it is important that these co-morbidities be

identified and that appropriate psychotherapeutic help is obtained for the minor.

      235.    For many parents, a trans identity may appear to arise “out of the blue”

around puberty. They may have been dealing with other “normal” behavioral

problems in their child— eating patterns, learning disability, social anxiety, autism,

prolonged bedwetting, depression, cutting, rebellion against religion, etc. However,

the announcement of a new identity may be first problem for which they seek a MHP’s

evaluation.

      236.    A child who exhibits or expresses an interest in a transgender identity

should be evaluated for psychiatric co-morbidities and for the nature of that form of

gender identity. A thorough, careful evaluation of the child, his family interactions,

and life course, needs to be undertaken thoroughly before social transition is pursued.

      C.      Parental involvement is important for effective
              psychotherapeutic treatment and support of the child.
      237.    Theories as to the causes of psychological problems, and how they can

best be addressed once identified vary widely. There is, however, a broad consensus

on the importance of identifying and addressing the causes of distress regardless of

its symptomatic manifestation. This is accomplished via a stable trusting

relationship with a MHP who is able to form caring and empathetic relationships
with the child and parents. Child-oriented psychotherapists are diverse in how they

think about and perform parent guidance and child interventions. (Zucker 2020.)

      238.    Since the child’s sense of gender develops in interaction with his

parents, and the child’s own emerging gender roles and relationships, the MHP needs

to delve into family, marital, and each parent’s relationship patterns with the child.

These topics are often referred to as the elements of family dynamics.

      239.    For a child to perform different gender identities and gender roles at
home and at school, including situations where parents are kept in ignorance about

                                          88
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 94 of 144




his or her current self- concepts, is inherently psychologically unhealthy. No

professional medical organization has endorsed such an approach. Parents have a

vested interest in the mental health of their child—an interest that is not facilitated

by a school pursuing an entirely different approach to the treatment of their child. A

child’s experience in such a conflicting environment can consolidate the young

person’s view of the parents as “the enemy” and increase the anxiety load of the child.

Indeed, the WPATH “Standards of Care” explicitly recognizes the need to support

“[c]lients and their families” in the difficult issues that arise. (Coleman et al. 2012 at

15.) And the recent Version 8 of the WPATH “Standards of Care” notes that in most

circumstances “it is extremely helpful for parents/guardians to participate in some

capacity in the psychotherapy process involving prepubescent children as family

factors are often central to a child’s well-being.” (Coleman et al. 2022 at S73.)

      240.   In my experience, many parents are in fact taken aback by their child’s

announcement of a trans identity. Clinicians are there to help parents and their

offspring address the gulf between them, but facilitating a “double life” is neither the

path to psychological health for the minor nor the parents.

      D.     Schools cannot enable and obtain informed consent.
      241.   As I have explained in Section VII.B above, social transition in young
children is a powerful social intervention with profound intrapsychic consequences

that multiple informed observers have warned is likely to reduce the number of

children “desisting” from transgender identity. Moreover, as I detailed in Section

VII.C above, social transition starts a young child on a “conveyor belt” path that leads

in the large majority of cases to the administration of puberty blockers, which in turn

almost inevitably leads to the administration of cross-sex hormones—all of which

carry known risks. Given these risks, medical and mental health ethics require at

least two things before a minor child is placed on the first step of that conveyor belt:
(i) informed consent from the parents (as the minor can only provide assent), and (ii)
                                           89
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 95 of 144




concurrence in the decision by a professional who exercises clinical judgment

informed by scientific principles.

      242.   First, the threshold fact is that educators and generally trained school

counselors do not have sufficient knowledge of the complexities and risks in this field

to provide the accurate and extensive information that is an essential prerequisite to

informed consent. Knowing the uncertainties in this arena of care requires an open,

honest, thorough, and informed consent process. (Levine et al. 2022a.) Consent

without comprehensive information cannot be informed consent.

      243.   Second, children are held to be cognitively incapable of giving informed

consent to life-altering interventions such as are entailed by affirmative care

(including social transition) as they have not lived long enough to appreciate each

element of the affirmative care. It is the ethical responsibility of the medical

professional to inform and to see to it that the parents as well as the child comprehend

the various possibilities of harm. This requirement would be subverted by a school

policy that provides for personnel to undertake the social transition of minors without

the knowledge or permission of the parents.

      244.   Third, because they do not possess the relevant scientific knowledge,

school personnel are not in a position to exercise the separate and independent
judgment that ethical principles would require of a medical or mental health

professional. Medical professionals, be they physicians or psychologists, must weigh

the risks and benefits of treatment against the benefits and harms of not treating, in

the short and in the long term. In medicine as a whole, when in the judgment of the

medical professional the risks outweigh the benefits, ethical principles prohibit the

treatment. The medical professional may not abdicate or delegate this independent

ethical responsibility.

      245.   Most commonly, meaningful engagement with difficult and painful
questions such as those above requires a process that will consist of multiple
                                          90
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 96 of 144




discussions in a psychotherapeutic or counseling context, not merely “disclosure” of

facts. In my experience, a too-rapid or too-eager attachment to some outcome is a

warning flag that the patient is not able to tolerate knowledge of the risks and

alternative approaches.

      246.   The absence of long-term studies in the arena of childhood gender

dysphoria or the more recently documented phenomenon of “rapid onset gender

dysphoria” among adolescents means that therapeutic responses to these conditions

are still at a primitive stage of development, and must be considered to be

experimental, rendering adequately informed consent all the more essential, and all

the more difficult to obtain. Claims that a civil right is at stake do not change the fact

that what is proposed is a social and medical experiment. (Levine 2016 at 241.) In

recent years, there has been a rising tide of professional and public concern about,

questioning of, and calls to improve the scientific basis for the treatment of trans-

identified youth. Medical treatments may be fashionable without being scientifically

grounded. School policies may be based on social political perspectives and erroneous

beliefs on what has been established by the field of medicine. But a growing number

of critics and advocates alike agree that more research is necessary to clarify the vital

areas of uncertainty in this field. Schools do not have the moral authority to resolve
these complex medical and ethical issues and proceed to socially transition a child in

the school context while excluding the child’s parents or guardians.

      247.   In public, medical, and legal discussions of hormonal and surgical care

for transgender minors, misleading words and phrases often are employed to support

affirmative care. These recur so frequently without explanation or definition that

they appear to be slogans. Professionals often use slogans to end discussion. When

supporting evidence is offered, there is often no mention of contrary data. (This is

known as confirmation bias.) When laypersons employ such terms, their often-
passionate sociopolitical values are reflected. Here are the terms that descend to the
                                           91
        Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 97 of 144




level of being slogans: “research has shown”; “the science is settled”; “hormones are

safe and effective;” “surgery is safe and effective;” “conversion therapy;”

“transphobic”; “anti-trans”. Each of these terms require readers and listeners to

consider the contextual assumptions that their users possess. Some of the preceding

paragraphs of this expert opinion report have dealt with the fact that science is far

from settled and that the evidence for the safety and effectiveness of hormones has

not survived scientific scrutiny. The labelling as “conversion therapy” of any attempts

to understand the psychosocial forces that may have influenced the creation of a

minor’s trans identity, to help the young person consider the pros and cons of gender

transitioning in a dispassionate fashion, or to enable the adolescent to eventually

choose how to present himself, has been an effective device to scare mental health

professionals. The application of this term to psychotherapy with trans-identifying

minors has made the diagnosis of gender dysphoria an exception within psychiatry.

Other disorders are treated with psychotherapy. The unstated assumptions are that

gender dysphoria can only be effectively treated by elements of transition and that

psychotherapy is ineffective in curing or ameliorating distress and also harmful.

       248.   The power of accusations of being “transphobic” and “anti-trans” is to

label the person as an enemy or as ignorant of the nature of the trans identity.
“Transphobic” is often applied by trans adolescents to their parents who do not believe

that any form of trans identity is in their child’s best interests. “Transphobic” is also

employed by cis adolescents against those who are not fully supportive or who raise

questions about the wisdom of trying to alter one’s sex or change one’s social

presentation. Attitudes towards trans persons are influenced by many factors. One of

them is generational. Today’s young tend to be more supportive than older

generations who tend to be more skeptical. “Transphobic” and “anti-trans” are also

labels that supportive persons and institutions use against those who question the
basis of their position.
                                           92
          Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 98 of 144




      249.   These accusations can be softened, and those who employ them can be

assisted in understanding the issue more accurately. Trans-identified minors can be

told that their    arents are trans-worried, trans-war:y, or trans-skeptical, especially

given the risks trans-identifying youth face. Having anxiety about their offspring's

future and the future of each of the family members does not mean that they have an

irrational phobia. It only means that they see the issue differently than does their

son or daughter.

      250.   The concerns of others can be recognized without being labelled in these

derogatory terms. Attempts to shut down discussion or punish skeptical professionals

rather than embracing the controversies through social and scientific debate obstruct

scientific progress. Clinical science resolves controversies by clarifying the basis of

both positions and designing studies that address the missing information.




                                           93
      Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 99 of 144




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                                       104
      Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 110 of 144




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                                       109
Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 115 of 144




              EXHIBIT A
       Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 116 of 144




                                  Curriculum Vita
                              Stephen B. Levine, M.D.


I)     Brief Introduction
   Dr. Levine is Clinical Professor of Psychiatry at Case Western Reserve University
School of Medicine. He is the solo author of five books, Sex Is Not Simple in 1989
(translated to German in 1992 and reissued in English in 1997 as Solving Common
Sexual Problems); Sexual Life: A clinician’s guide in 1992; Sexuality in Midlife in 1998
and Demystifying Love: Plain talk for the mental health professional in 2006; Barriers
to Loving: A clinician’s perspective in 2013; Psychotherapeutic Approaches to Sexual
Problems: An Essential Guide for Mental Health Professionals in 2020. He is the
Senior Editor of the first (2003), second (2010) and third (2016) editions of the
Handbook of Clinical Sexuality for Mental Health Professionals. He has been teaching,
providing clinical care, and writing since 1973 and has generated original research,
invited papers, commentaries, chapters, and book reviews. He has served as a journal
manuscript and book prospectus reviewer for many years. He was co-director of the
Center for Marital and Sexual Health/ Levine, Risen & Associates, Inc. in Beachwood,
Ohio from 1992-2017. He and two colleagues received a lifetime achievement Masters
and Johnson’s Award from the Society for Sex Therapy and Research in March 2005.
He was given his Department of Psychiatry’s Hall of Fame Award in 2021.

II)   Personal Information
Date of birth: 1942
      A)     Medical license no. Ohio 35-03-0234-L
      B)     Board Certification 6/76 American Board of Neurology and Psychiatry
      C)     Office-23425 Commerce Park, Beachwood, Ohio 44122-5402 phone 216-
             831-2900 x 13 fax 216-831-4306, direct dial 216-998-9905

III)   Education
       A)   1963 BA Washington and Jefferson College
       B)   1967 MD Case Western Reserve University School of Medicine
       C)   1967–68 internship in Internal Medicine University Hospitals of
            Cleveland
       D)   1968–70 Research associate, National Institute of Arthritis and
            Metabolic Diseases, Epidemiology Field Studies Unit, Phoenix,
            Arizona, United States Public Health Service
       E)   1970–73 Psychiatric Residency, University Hospitals of Cleveland
       F)   1974–77 Robert Wood Johnson Foundation Clinical Scholar




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      Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 117 of 144




IV)   Appointments at Case Western Reserve University School of
      Medicine
      A)   1973- Assistant Professor of Psychiatry
      B)   1979-Associate Professor
      C)   1982-Tenure
      D)   1985-Full Professor
      E)   1993-Clinical Professor

V)    Honors
      A)  Summa Cum Laude, Washington & Jefferson
      B)  Teaching Excellence Award-1990 and 2010 (residency program)
      C)  Visiting Professorships
          1)     Stanford University-Pfizer Professorship program (3 days) –
                 1995
          2)     St. Elizabeth’s Hospital, Washington, DC –1998
          3)     St. Elizabeth’s Hospital, Washington, DC – 2002
      D)  Named to America’s Top Doctors consecutively since 2001
      E)  Masters and Johnson Lifetime Achievement Award from the Society of
          Sex Therapy and Research, April 2005 along with Candace Risen and
          Stanley Althof
      F)  2006 SSTAR Book Award for The Handbook of Clinical Sexuality for
          Mental Health Professionals: Exceptional Merit
      G)  2018 – Albert Marquis Lifetime Achievement Award from Marquis
          Who’s Who. (excelling in one’s field for at least twenty years)
      H)  Invitations to present various Grand Rounds at Departments of
          Psychiatry and Continuing Education Lectures and Workshops during
          2019 – 2022
          1)     March 12, 2021 – The Mental Health Professionals’ Role with
                 the Transgendered: Making the Controversies Clear Grand
                 Rounds University Hospitals of Cleveland
          2)     May 1, 2021 – Psychotherapeutic Approaches to Sexual
                 Problems Invited lecture to the American Psychiatric
                 Association Annual Meeting (similar lecture in May 2020
          3)     Seven years of Continuing Education Courses at the American
                 Psychiatric Association Meetings on Love and Sexuality
          4)     Grand Rounds at Cleveland Clinic Foundation on Sexuality
                 Education of Psychiatric Residents June 25, 2020
          5)     Grand Rounds at Cleveland Clinic Foundation June 2019
                 Transgenderism: Beware! Repeated by invitation at Akron
                 General Hospital and at National meeting of American
                 Association of Partial Hospitalization in 2019




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      Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 118 of 144




           6)    Three-hour workshop at Society of Sex Therapy and Research in
                 2020 on Therapy for Sexual Problems
           7)    Workshop on Teaching Sexuality to residents at the American
                 Association of Residency Training Directors 2020 annual
                 meeting
           8)    Three-hour continuing education seminar with Massachusetts
                 Department of Corrections Gender Identity Staff Fall 2019
           9)    Four-hour seminar on Gender Dysphoria at Harvard Student
                 Health Service Staff
           10)    Three grand rounds presentations at Henry Ford Hospital on
                 Transgender Evaluation and Treatment of Children,
                 Adolescents, and Adults
           11)    Symposium (90 minutes) at the American Psychiatric
                 Association 2022 meeting The Management of Adolescent-Onset
                 Transgender Identity: Should “Best Practices” Change?

VI)   Professional Societies
      A)   1971 – American Psychiatric Association; fellow; #19909
      B)   2005 – American Psychiatric Association – Distinguished Life
           Fellow
      C)   1973 – Cleveland Psychiatric Society
      D)   1973 – Cleveland Medical Library Association
           1)    1985 – Life Fellow
           2)    2003 Distinguished Life Fellow
      E)   1974 – Society for Sex Therapy and Research
           1)    1987–89–President
      F)   1983 – International Academy of Sex Research
      G)   1983 – Harry Benjamin International Gender Dysphoria Association
           1)    1997–8 Chairman, Standards of Care Committee
      H)   1994–1999 Society for Scientific Study of Sex

VII) Community Boards
     A)  1999–2002 Case Western Reserve University Medical Alumni
         Association
     B)  1996–2001 Bellefaire Jewish Children’s Bureau
     C)  1999–2001 Physicians’ Advisory Committee, The Gathering Place
         (cancer rehabilitation)




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      Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 119 of 144




VIII) Editorial Boards
      A)    1978–80 Book Review Editor Journal Sex and Marital Therapy
      B)    Manuscript Reviewer for
           1)     Archives of Sexual Behavior*
           2)     Annals of Internal Medicine
           3)     British Journal of Obstetrics and Gynecology
           4)     JAMA
           5)     Diabetes Care
           6)     American Journal of Psychiatry
           7)     Maturitas
           8)     Psychosomatic Medicine
           9)      Sexuality and Disability
           10)    Journal of Nervous and Mental Diseases
           11)    Journal of Neuropsychiatry and Clinical Neurosciences
           12)    Neurology
           13)    Journal Sex and Marital Therapy*
           14)    Journal Sex Education and Therapy
           15)    Social Behavior and Personality: An International Journal (New
                   Zealand)
           16)    International Journal of Psychoanalysis
           17)    International Journal of Transgenderism
           18)    Journal of Urology
           19)    Journal of Sexual Medicine* named Gold reviewer in 2021
           20)    Current Psychiatry
           21)    International Journal of Impotence Research
           22)    Postgraduate medical journal
           23)    Academic Psychiatry
           24)    Expert Opinion on Drug Safety
           25)    Clinical Psychology Reviews
           26)    Heliyon
           27)    Andrologia
           28)    Children and Youth Services Review
           29)    Women and Criminal Justice
           30)    Children
           31)    European Journal of Child and Adolescent Psychiatry
           32)    International Journal of Environmental and Public Health
           33)    Journal of Controversial Ideas
           34)    Journal of Pediatric Nursing
            *frequent

      C)    Book Prospectus Reviewer
           1)     Guilford




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      Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 120 of 144




           2)     Oxford University Press
           3)     Brunner/Routledge
           4)     Routledge


IX)   Administrative Responsibilities
      A)  Co-director, Center for Marital and Sexual Health/ Levine, Risen &
             Associates, Inc. until June 30, 2017
      B)  Principal Investigator of approximately 70 separate studies involving
             pharmacological interventions for sexual dysfunction since 1989.
      C)  Co-leader of case conferences at DELR. LLC.com
      D)   Expert Witness Appearances in Depositions or at Trial
          1)    US District Court, Judge Mark L. Wolf’s witness in Michelle
                Kosilek vs. Massachusetts Dept of Corrections et al. case
                (transsexual issue) in Boston 2007
          2)    Deposition in the Battista vs. Massachusetts Dept of Corrections
                case (transsexual issue) in Cleveland October 2009
          3)    Witness for Massachusetts Dept. of Corrections in their defense
                of a lawsuit brought by prisoner Katheena Soneeya. March 22,
                2011 Deposition in Boston and October 2018 in Cleveland and
                2019 in Boston
          4)    Witness for State of Florida vs. Reyne Keohane July 2017
          5)    Witness for State of North Carolina in 2021 Kadel et al. v.
                Folwell et al. No.1:19-cv-00272-LCB-LPA


X)    Consultancy and Educational Contributions
      A)   Massachusetts Department of Corrections—evaluation of 12
           transsexual prisoners and the development of a Gender Identity
           Disorders Program for the state prison system. Monthly consultation
           with the GID treatment team since February 2009 and the GID policy
           committee since February 2010. Ongoing
      B)   California Department of Corrections and Rehabilitation; 2012-2015;
           education, inmate evaluation, commentary on inmate circumstances,
           suggestions on future policies
      C)   Virginia Department of Corrections –evaluation of an inmate for
           management purposes
      D)   New Jersey Department of Corrections—evaluation of an inmate for
           management purposes
      E)   Idaho Department of Corrections—workshop 2016
      F)   Florida Department of Corrections-workshop 2016 or 2017
      G)   Ohio-evaluation of a prisoner for management purposes 2015




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      Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 121 of 144




      H)    Massachusetts—continuing education seminar for GID clinic staff.
            2019
      I)    Washington State—workshop on Gender Dysphoria for mental health
            professionals in DOC and evaluation of two women and one male
            transgender inmate 2018-9
      J)    Evaluation of trans inmate in Boston, Massachusetts 2022
      K)    New Jersey Department of Corrections: Four lectures, one week apart,
            Jan-Feb.2023

XI)   Expert Witness Reports, Depositions, or Testimony
      A)   Expert Witness report in Charlene Paige Fuller litigation against
           Massachusetts DOC. 2015
      B)   NORSWORTHY, Plaintiff, v. JEFFREY BEARD, et al., Defendants.
           United States District Court, Northern District of California, Case
           No.C14-00695JST. 2015
      C)   SHILOH QUINE (a/k/a RODNEY JAMES QUINE), Plaintiff, vs.
           JEFFREY BEARD; S. PAJONG; D. )BRIGHT; J. DUNLAP; J.
           LEWIS;) and DOES 1-30, Defendants. California 2015
      D)   Pennsylvania legislative testimony. Written submission and live
           testimony before a committee of the Pennsylvania legislature. March
           2020. (Engaged by Pennsylvania Family Institute.)
      E)   In the Interests of the Younger Children. Expert testimony by
           deposition and at trial in Dallas, TX. (Engaged by Texas counsel
           Odeneal & Odeneal.) (Dallas Cty. Dist. Ct. 2019). Testimony at trial
      F)   Doe v. Madison Metropolitan School District. Expert declaration
           submitted February 19, 2020, rebuttal declaration submitted August
           14, 2020.
      G)    Hecox v. Idaho. Expert declaration submitted June 4, 2020
      H)   Testimony to Subcommittee on Health to Pennsylvania legislature in
           March 2020
      I)   Claire et. al. v. DMS et. al. November 16, 2020
      J)    Kadel et al. vs. Folwell et al. North Carolina insurance case deposition
           September 2021
      K)    Rhys & Lynn Crawford (Washington State). 3/30/2021
      L)   Tingley v. Washington State. (W.D. Wa.) 2021
      M)   Queen (Quincy Bell) vs. Tavistock and Portman Clinics and NHS in
           High Court of London, Decision handed down on December 1, 2020.
      N)   IN THE HIGH COURT OF JUSTICE QUEEN’S BENCH DIVISION
           ADMINISTRATIVE COURT BETWEEN: THE QUEEN (on the
           application of) L and Hampshire County Council-2021




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       Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 122 of 144




       O)    Hennessy-Waller v. Snyder, Case No. CV-20-00335-TUC-SHR, 2021
             WL 1192842, at *5-6 & n.10 (D. Ariz. Mar. 30, 2021) — Supplemental
             report 2022 (court prevents access because it involves a minor).
       P)    Fain v. PEIA. West Virginia Medicaid Case — submitted Feb.18, 2022.
       Q)    B.P.J. v. West Virginia Board of Education, et al.; Case No. 2:21-cv-316
             (United States District Court, Southern District of West Virginia — IN
             DEVELOPMENT March 30, 2022--deposition
       R)    Dylan Brandt, et al., v. Leslie Rutledge, et al., No. 4:21-CV-00450-JM
             Eastern Division of Arkansas , Central Division—deposition May 26,
             2022; court testimony 11/28/2022
       S)    L.E. vs. Lee MD Tenn. No.3:21-cv-00835. — deposition August 18, 2022
       T)    Siefert v Hamilton County — deposition January 19, 2023
       U)    AURORA REGINO v. KELLY STALEY, Chico United School District,
             (CASE NO: 2:23−CV−00032−JAM−DMC) — expert reported provided
             December 27, 2022
       V)    JESSICA KONEN and A.G., her minor child v. SPRECKELS UNION
             SCHOOL DISTRICT; CASE NO: 5:22-CV-05195-EJD — report not yet
             filed.
       W)    Dekker et al v Marsteller et al. Case no. 4:22-ev-00325 RH-MAF —
             expert opinion filed February 14, 2023; testimony May 17,2023
       X)    Greenland v Greenland — testimony March 21, 2023 Third District
             Circuit Madison County, Illinois Case no. 15D1070
       Y)    Doe 1 et al. v Thornbury et al., 3:23-cv-00230-DJH (W.D.Ky) — expert
             opinion submitted June 9, 2023
       Z)    Vivian Geraghty vs. Jackson County Local School District Board of
             Education, Case No. 5:22-cv-2237 — expert opinion submitted July
             2023.
       AA)   LW et al v. Jonathan Skrmetti et al., Tennessee Law Challenge No.
             3:23-cv-00376 — expert opinion submitted July 2023.
       BB)   Noe vs Parson as Governor of Missouri — expert witness testimony
             August 23, 2023 in Springfield, Missouri.


XII)   Grant Support/Research Studies
       A)   TAP–studies of Apomorphine sublingual in treatment of erectile
            dysfunction
       B)   Pfizer–Sertraline for premature ejaculation
       C)   Pfizer–Viagra and depression; Viagra and female sexual dysfunction;
            Viagra as a treatment for SSRI-induced erectile dysfunction
       D)   NIH- Systemic lupus erythematosis and sexuality in women
       E)   Sihler Mental Health Foundation
            1)     Program for Professionals




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      Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 123 of 144




           2)     Setting up of Center for Marital and Sexual Health
           3)     Clomipramine and Premature ejaculation
           4)     Follow-up study of clergy accused of sexual impropriety
           5)     Establishment of services for women with breast cancer
     F)    Alza–controlled study of a novel SSRI for rapid ejaculation
     G)    Pfizer–Viagra and self-esteem
     H)    Pfizer – double-blind placebo control studies of a compound for
           premature ejaculation
     I)    Johnson & Johnson – controlled studies of Dapoxetine for rapid
           ejaculation
     J)    Proctor and Gamble: multiple studies to test testosterone patch for
           post menopausal sexual dysfunction for women on and off estrogen
           replacement
     K)    Lilly-Icos – study of Cialis for erectile dysfunction
     L)    VIVUS – study for premenopausal women with FSAD
     M)    Palatin Technologies – studies of bremelanotide in female sexual
           dysfunction—first intranasal then subcutaneous administration
     N)    Medtap – interview validation questionnaire studies
     O)    HRA – quantitative debriefing study for Female partners os men with
           premature ejaculation, Validation of a New Distress Measure for FSD,
     P)    Boehringer-Ingelheim- double blind and open label studies of a
           prosexual agent for hypoactive female sexual desire disorder
     Q)    Biosante- studies of testosterone gel administration for post
           menopausal women with HSDD
     R)    J&J a single-blind, multi-center, in home use study to evaluate sexual
           enhancement effects of a product in females.
     S)    UBC-Content validity study of an electronic FSEP-R and FSDS-DAO
           and usability of study PRO measures in premenopausal women with
           FSAD, HSDD or Mixed FSAD/HSDD
     T)    National registry trial for women with HSDD
     U)    Endoceutics—two studies of DHEA for vaginal atrophy and dryness in
           post menopausal women
     V)    Palatin—study of SQ Bremelanotide for HSDD and FSAD
     W)    Trimel – a double-blind, placebo controlled study for women with
           acquired female orgasmic disorder.
     X)    S1 Biopharma- a phase 1-B non-blinded study of safety, tolerability
           and efficacy of Lorexys in premenopausal women with HSDD
     Y)    HRA – qualitative and cognitive interview study for men experiencing
           PE

XIII) Publications
      A)   Books




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Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 124 of 144




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           Marcel Dekker, New York, 1985
     2)    Sex Is Not Simple, Ohio Psychological Publishing Company,
           1988
           (a)    Translated into German as Angstfreie Sexualitat: Gluck
                  und Erfullung in der Liebe, Wilhelm Heyne Verlag,
                  Muchen, 1992
           (b)    Reissued in paperback as: Solving Common Sexual
                  Problems: Toward a Problem Free Sexual Life, Jason
                  Aronson, Livingston, NJ. 1997
     3)    Sexual Life: A Clinician’s Guide. Plenum Publishing
           Corporation. New York, 1992
           (a)    See review in Archives of Sexual Behavior 28(4): 361-
                  363,1999
     4)    Sexuality in Midlife. Plenum Publishing Corporation. New York,
           1998
           (a)    See review in Am Journal of Psychiatry 156((9):1468,
                  1999
           (b)    See review in Contemporary Psychology APA Review of
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           (c)    See review J Sex Education and Therapy January, 2000
           (d)    See review J Sex and Marital Therapy, Winter, 2000
     5)    Editor, Clinical Sexuality. Psychiatric Clinics of North America,
           March, 1995.
     6)    Editor, (Candace Risen and Stanley Althof, associate editors)
           Handbook of Clinical Sexuality for Mental Health Professionals.
           Routledge, New York, 2003
           (a)    See review American Journal of Psychiatry April, 2005
           (b)    2006 SSTAR Book Award: Exceptional Merit
           (c)    See review in Archives of Sexual Behavior 35(6):757-758
           (d)    See two reviews in Journal of Sex and Marital Therapy
                  33(3):272-276
     7)    Demystifying Love: Plain Talk For The Mental Health
           Professional. Routledge, New York, 2006
           (a)    See review in Psychiatric Times, August 2008 by Leonore
                  Tiefer
           (b)    See review in Journal of Sex and Marital Therapy 34(5)-
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           Associate editors), Handbook of Clinical Sexuality for Mental
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     9)    Barriers to Loving: A Clinician’s Perspective. Routledge, New
           York, 2014.
     10)   Senior editor Candace B. Risen and Stanley E. Althof, Associate
           editors), Handbook of Clinical Sexuality for Mental Health
           Professionals. 3rd edition Routledge, New York, 2016
     11)   Psychotherapeutic Approaches to Sexual Problems: An essential
           guide for mental health professionals, 2020
           (a)    See review in J Sex and Marital Therapy


B)   Research and Invited Papers When his name is not listed in a
     citation, Dr. Levine is either the solo or the senior author
     1)     Sampliner R. Parotid enlargement in Pima Indians. Annals of
            Internal Medicine 1970; 73:571-73
     2)     Confrontation and residency activism: A technique for assisting
            residency change: World Journal of Psychosynthesis 1974; 6: 23-
            26
     3)     Activism and confrontation: A technique to spur reform.
            Resident and Intern Consultant 173; 2
     4)     Medicine and Sexuality. Case Western Reserve Medical Alumni
            Bulletin 1974:37:9-11.
     5)     Some thoughts on the pathogenesis of premature ejaculation. J.
            Sex & Marital Therapy 1975; 1:326-334
     6)     Marital Sexual Dysfunction: Introductory Concepts. Annals of
            Internal Medicine 1976;84:448-453
     7)     Marital Sexual Dysfunction: Ejaculation Disturbances . Annals
            of Internal Medicine 1976; 84:575-579
     8)     Yost MA: Frequency of female sexual dysfunction in a
            gynecology clinic: An epidemiological approach. Archives of
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     9)     Engel IM, Resnick PJ, Levine SB: Use of programmed patients
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     10)    Marital Sexual Dysfunction: Erectile dysfunction. Annals of
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     11)    Articles in Medical Aspects of Human Sexuality
            (a)    Treating the single impotent male. 1976; 10:123, 137
            (b)    Do men enjoy being caressed during foreplay as much as
                   women do? 1977; 11:9
            (c)    Do men like women to be sexually assertive? 1977;11:44
            (d)    Absence of sexual desire in women: Do some women never
                   experience sexual desire? Is this possibility genetically
                   determined? 1977; 11:31




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Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 126 of 144




           (e)    Barriers to the attainment of ejaculatory control. 1979;
                  13:32-56.
           (f)    Commentary on sexual revenge.1979;13:19-21
           (g)    Prosthesis for psychogenic impotence? 1979;13:7
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           (i)    Greenberger-Englander, Levine SB. Is an enema an erotic
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           (j)    Ford AB, Levine SB. Sexual Behavior and the Chronically
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           (k)    Preoccupation with wife’s sexual behavior in previous
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           (l)    Co-existing organic and psychological impotence.
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           (m) Althof SE, Turner LA, Kursh ED, Bodner D, Resnick MI,
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     12)   Male Sexual Problems. Resident and Staff Physician 1981:2:90-5
     13)   Female Sexual Problems. Resident and Staff Physician
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     14)   How can I determine whether a recent depression in a 40 year
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     37)   Essay on the nature of sexual desire Journal of Sex & Marital
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     41)   Schein M, Zyzanski SJ, Levine SB, Medalie JH, Dickman RL,
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     50)   Althof SE, Turner LA, Levine SB, Risen CB, Bodner DR,
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Case 2:23-cv-00209-cr Document 46 Filed 09/14/23 Page 131 of 144




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